Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 1 of 61 PageID #: 26447



                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  RETRACTABLE TECHNOLOGIES,                   §
  INC., and THOMAS J. SHAW                    §
                                              §
                             Plaintiff,       §
                                              §
  VS.                                         §        Civil Action No. 2:08-CV-16
                                              §
  BECTON DICKINSON AND                        §
  COMPANY, INC.                               §        Chief Judge Leonard Davis
                                              §
                             Defendant.       §        Jury Trial
                                              §
                                              §
                                              §


            DEFENDANT BECTON, DICKINSON AND COMPANY’S
         RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW,
          OR ALTERNATIVELY, FOR NEW TRIAL OR REMITTITUR

 PAUL, WEISS, RIFKIND, WHARTON                    BECK REDDEN, L.L.P.
   & GARRISON LLP                                 Alistair B. Dawson
 Robert A. Atkins, Lead Attorney                  Texas Bar No. 05596100
 Jacqueline P. Rubin                              Russell S. Post
 William B. Michael (admitted pro hac vice)       Texas Bar No. 00797258
 1285 Avenue of the Americas                      1221 McKinney, Suite 4500
 New York, New York 10019-6064                    Houston, Texas 77010-2010
 Telephone: (212) 373-3000                        Telephone: (713) 951-6225
 Facsimile: (212) 757-3990                        Facsimile: (713) 951-3720
 E-mail: ratkins@paulweiss.com                    E-mail: adawson@brsfirm.com

 MCKOOL SMITH, P.C.
 Samuel F. Baxter
 Texas Bar No. 01938000
 Robert Elkin
 Texas Bar No. 06522600
 104 East Houston, Suite 300
 Marshall, Texas 75670
 Telephone: (903) 923-9000
 Facsimile: (903) 923-9099
 E-mail: sbaxter@mckoolsmith.com

                   Attorneys for Defendant Becton, Dickinson and Company
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 2 of 61 PageID #: 26448



                                                        TABLE OF CONTENTS
                                                                                                                                             Page
 TABLE OF CONTENTS ........................................................................................................................ i

 INTRODUCTION ................................................................................................................................ 1

 ARGUMENT ...................................................................................................................................... 2

            I.         Judgment as a Matter of Law Should Be Granted to BD Because There
                       Is No Substantial Evidence to Support the Attempted Monopolization
                       Verdict..................................................................................................................... 2

                       A.         RTI Failed to Present Substantial Evidence that BD Engaged in
                                  “Predatory or Exclusionary Conduct.” ....................................................... 3

                                  1.         As a Matter of Law, the Challenged Conduct Is Not
                                             Anticompetitive or Exclusionary. ................................................... 5

                                  2.         There Is No Substantial Evidence that BD’s Conduct
                                             Was, In Fact, Exclusionary. ............................................................ 7

                                             (a)         False Advertising: There Is No Substantial
                                                         Evidence that BD’s Advertising Was
                                                         Exclusionary Conduct. ........................................................ 8

                                                         (i)        No Substantial Evidence that BD’s
                                                                    Advertising Was Capable of Creating
                                                                    Monopoly Power. .................................................... 9

                                                         (ii)       No Substantial Evidence that BD’s
                                                                    Advertising Prevented RTI, or Any Other
                                                                    Competitor, From Competing for
                                                                    Business................................................................. 12

                                             (b)         Disparagement/Tainting:     There           is        No
                                                         Substantial Evidence that BD’s Advertising
                                                         Was Exclusionary Conduct. .............................................. 13

                                                         (i)        No Substantial Evidence that BD’s
                                                                    Integra “Tainted” the Market. .............................. 13

                                                         (ii)       No Substantial Evidence that “Tainting”
                                                                    Was Anticompetitive.............................................. 14




                                                                          i
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 3 of 61 PageID #: 26449



                                   (c)        Patent Infringement: There is No Substantial
                                              Evidence that BD’s Non-Willful Patent
                                              Infringement Was Exclusionary Conduct. ........................ 15

             B.         RTI Failed to Present Substantial Evidence Establishing a
                        “Dangerous Probability” that BD Would Achieve Monopoly
                        Power in the Market for Safety Syringes. ................................................. 16

                        1.         There Is No Substantial Evidence that the Challenged
                                   Conduct Was Likely to Lead to the Creation of
                                   Monopoly Power in the Future. .................................................... 17

                        2.         RTI Failed to Prove that the Challenged Conduct Was
                                   Likely to Lead to Monopoly Power, Even If It Might
                                   Have Led to a Reduction in RTI’s Market Share. ........................ 20

                        3.         RTI Failed to Prove that the Challenged Conduct Could
                                   Overcome the Exercise of Buyer Power by the
                                   Consumers of Safety Syringes. ..................................................... 22

             C.         RTI Failed to Present Substantial Evidence Establishing that
                        BD Had a “Specific Intent” to Monopolize the Safety Syringe
                        Market. ...................................................................................................... 22

             D.         Alternatively, the Court Should Grant a New Trial on Antitrust
                        Liability. .................................................................................................... 23

       II.   RTI Failed to Carry Its Burden of Proving Damages Caused by an
             Antitrust Injury...................................................................................................... 24

             A.         RTI Failed to Carry Its Burden of Proving an Antitrust Injury. ............... 24

                        1.         RTI Failed to Prove that It Suffered Any Injury
                                   “Attributable to an Anti-Competitive Aspect” of BD’s
                                   Conduct. ........................................................................................ 25

                        2.         The Damage Model Does Not Substitute for Proof of
                                   Antitrust Injury.............................................................................. 27

             B.         There Is No Evidence of Causation to Support the “Deception
                        Damages.” ................................................................................................. 28

             C.         The Failure to Disaggregate Is Fatal to the “Deception
                        Damages.” ................................................................................................. 30

                        1.         RTI Had a Burden to Disaggregate Its Damage Model. ............... 30


                                                              ii
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 4 of 61 PageID #: 26450



                                2.         RTI Failed to Disaggregate Its Damage Model. ........................... 30

           III.      The Evidence Does Not Support $113 Million in “Deception”
                     Damages. ............................................................................................................... 32

                     A.         RTI Had the Burden to Prove that Its Benchmark Was “Closely
                                Comparable” and as “Nearly Identical” as Possible. ................................ 32

                     B.         RTI Failed to Meet Its Burden of Proving a Valid Benchmark. ............... 34

                     C.         The Evidence Proved that the Markets and Businesses Maness
                                Compared Are Not Nearly Identical or Closely Comparable. .................. 35

                                1.         The Products Are Significantly Different, Not
                                           Comparable. .................................................................................. 35

                                2.         The Markets Are Significantly Different, Not
                                           Comparable. .................................................................................. 37

                                3.         The Businesses Are Significantly Different, Not
                                           Comparable. .................................................................................. 38

                     D.         Alternatively, the Court Should Grant a New Trial or Suggest a
                                Remittitur. ................................................................................................. 39

           IV.       Res Judicata Bars the Lanham Act Claims and the Related Antitrust
                     Claims. .................................................................................................................. 40

           V.        Release Bars the Lanham Act Claims and the Related Antitrust
                     Claims. .................................................................................................................. 43

           VI.       There Is No Evidence to Support the Lanham Act Claims. .................................. 45

                     A.         There Is No Evidence to Support RTI’s Needle Sharpness
                                Claims. ...................................................................................................... 46

                     B.         There Is No Evidence to Support RTI’s Waste Space Claims.................. 48

                     C.         There Is No Evidence to Support RTI’s “Data on File” Claims. .............. 50

                     D.         Alternatively, BD Is Entitled to a New Trial. ........................................... 50

 CONCLUSION AND PRAYER FOR RELIEF ......................................................................................... 50

 CERTIFICATE OF SERVICE .............................................................................................................. 52




                                                                      iii
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 5 of 61 PageID #: 26451




                                               TABLE OF AUTHORITIES

                                                                                                                             Page(s)
 CASES

 Abraham v. Alpha Chi Omega,
    708 F.3d 614 (5th Cir. 2013) ...................................................................................................42

 Adjusters Replace-a-Car, Inc. v. Agency Rent-a-Car, Inc.,
    735 F.2d 884 (5th Cir. 1984) .............................................................................................22, 23

 Am. Council of Certified Podiatric Physicians & Surgeons v. Am. Bd. of Podiatric
    Surgery, Inc.,
    323 F.3d 366 (6th Cir. 2003) ...............................................................................................7, 12

 Am. Prof’l. Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal and Prof’l. Pubs.,
    Inc.,
    108 F.3d 1147 (9th Cir. 1997) ...............................................................................................7, 8

 United States v. American Airlines, Inc.,
    743 F.2d 1114 (5th Cir. 1984) .......................................................................................9, 16, 17

 Arthur S. Langenderfer, Inc. v. S.E. Johnson Co.,
    917 F.2d 1413 (6th Cir. 1990) .................................................................................................19

 Atl. Richfield Co. v. USA Petroleum. Co.,
     495 U.S. 328 (1990) ...............................................................................................24, 25, 26, 30

 Augustine Med., Inc. v. Progressive Dynamics Inc.,
    194 F.3d 1367 (Fed. Cir. 1999)................................................................................................44

 Bell Atl. Corp. v. AT&T Corp.,
     339 F.3d 294 (5th Cir. 2003) .......................................................................................30, 33, 37

 Berkey Photo, Inc. v. Eastman Kodak Co,
    603 F. 2d 263 (2d Cir. 1979)......................................................................................................3

 Blair Foods, Inc. v. Ranchers Cotton Oil,
    610 F.2d 665 (9th Cir. 1980) ...................................................................................................22

 State of Alabama v. Blue Bird Body Co., Inc.,
     573 F.2d 309 (5th Cir. 1978) .............................................................................................29, 30

 Brooke Group Ltd. v. Brown & Williamson Tobacco Corp.,
    509 U.S. 209 (1993) ......................................................................................................... passim

 Brunnemann v. Terra Intern., Inc.,
    975 F.2d 175 (5th Cir. 1992) ...................................................................................................39

                                                                   iv
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 6 of 61 PageID #: 26452



 Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,
    429 U.S. 477 (1977) ...........................................................................................................24, 27

 Buetow v. A.L.S. Enterprises,
    650 F.3d 1178 (8th Cir. 2011) .....................................................................................46, 47, 48

 Bus. Elecs. Corp. v. Sharp Elecs. Corp.,
    780 F.2d 1212 (5th Cir. 1986) .................................................................................................35

 Cates v. Creamer,
    431 F.3d 456 (5th Cir. 2005) ...............................................................................................1, 23

 Colo. Interstate Gas Co. v. Natural Gas Pipeline Co. of Am.,
    885 F.2d 683 (10th Cir. 1989) .................................................................................................21

 Daubert v. Merrell Dow Pharm., Inc.,
    43 F.3d 1311 (9th Cir. 1995) ...................................................................................................28

 United States v. Davenport,
    484 F.3d 321 (5th Cir. 2007) ...................................................................................................43

 David L. Aldridge Co. v. Microsoft Corp.,
    995 F. Supp. 728 (S.D. Tex. 1998) ............................................................................................8

 Doctor’s Hosp. of Jefferson, Inc. v. Se. Med. Alliance, Inc.,
    123 F.3d 301 (5th Cir. 1997) ...................................................................................................25

 EBay v. Mercexchange LLC,
    547 U.S. 388 (2006) .................................................................................................................46

 El Aguila Food Prods., Inc. v. Gruma Corp.,
     131 F.App’x 450 (5th Cir. 2005) ...........................................................................30, 31, 32, 33

 Eleven Line, Inc v. North Texas State Soccer Ass’n,
    213 F.3d 198 (5th Cir. 2000) ........................................................................................... passim

 Eyewear, Inc. v. Marchon Eyewear, Inc.,
    672 F.3d 1335 (Fed. Cir. 2012)................................................................................................43

 Faris v. Williams WPC-1, Inc.,
    332 F.3d 316 (5th Cir. 2003) ...................................................................................................44

 Fractus, S.A. v. Samsung Elecs. Co.,
    876 F. Supp. 2d 802 (E.D. Tex. 2012) .......................................................................................1

 Funeral Consumers Alliance, Inc. v. Serv. Corp. Int’l,
    2008 WL 7356272 (S.D. Tex. Nov. 24, 2008) ..........................................................................8




                                                                     v
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 7 of 61 PageID #: 26453



 Gorsalitz v. Olin Mathieson Chem. Corp.,
    429 F.2d 1033 (5th Cir. 1970) ...................................................................................................2

 Henry v. Bridgestone/Firestone Inc.,
    63 F.App’x 953 (7th Cir. 2003) ...............................................................................................28

 Hurlbut v. Gulf Atl. Life Ins. Co.,
    749 S.W.2d 762 (Tex. 1987) ....................................................................................................15

 Ingram Corp. v. J. Ray McDermott & Co.,
    698 F.2d 1295 (5th Cir. 1983) .................................................................................................44

 IQ Products Co. v. Pennzoil Products Co.,
    305 F.3d 368 (5th Cir. 2002) .............................................................................................45, 46

 Kinnear-Weed Corp. v. Humble Oil & Refining Co.,
    214 F.2d 891 (5th Cir. 1954) .....................................................................................................5

 L-3 Commc’ns Integrated Sys., L.P. v. Lockheed Martin Corp.,
    2008 WL 4391020 (N.D. Tex. Sept. 29, 2008)..........................................................................8

 Lehrman v. Gulf Oil Corp.,
    500 F.2d 659 (5th Cir. 1974) .......................................................................................33, 34, 38

 Masimo Corp. v. Tyco Healthcare Grp., L.P.,
   2004 WL 5907538 (C.D. Cal. June 10, 2004) .........................................................................16

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
    475 U.S. 574 (1986) ...........................................................................................................10, 26

 MCI Commc’ns v. Am. Tel. & Tel. Co.,
   708 F.2d 1081 (7th Cir. 1983) .................................................................................................30

 Mercatus Group, LLC v. Lake Forest Hosp.,
    641 F.3d 834 (7th Cir. 2011) .....................................................................................................6

 Monsanto Co. v. Geertsen,
   130 S. Ct. 2743 (2010) .............................................................................................................46

 Nat’l Ass’n of Pharm. Mfrs., Inc. v. Ayerst Labs.,
    850 F.2d 904 (2d Cir. 1988)...................................................................................................7, 8

 Norris v. Hearst Trust,
    500 F.3d 454 (5th Cir. 2007) .............................................................................................24, 25

 Northeastern Tele. Co. v. AT&T Co.,
    651 F.2d 76 (2d Cir. 1981).......................................................................................................24




                                                                   vi
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 8 of 61 PageID #: 26454



 Nw. Power Prods, Inc. v. Omark Indus., Inc.,
    576 F.2d 83 (5th Cir. 1978) ............................................................................................. passim

 Oreck Direct, LLC v. Dyson, Inc.,
    560 F.3d 398 (5th Cir. 2009) .......................................................................................40, 41, 44

 PBM Products, LLC v. Mead Johnson & Co.,
   639 F.3d 111 (4th Cir. 2011) ...................................................................................................42

 Pernod Ricard USA, LLC v. Bacardi U.S.A., Inc.,
    653 F.3d 241 (3d Cir. 2011).....................................................................................................46

 Pipitone v. Biomatrix, Inc.,
    288 F.3d 239 (5th Cir. 2002) ...................................................................................................28

 Pizza Hut, Inc. v. Papa John’s Int’l, Inc.,
     227 F.3d 489 (5th Cir. 2000) .................................................................................45, 46, 47, 48

 Reeves v. Sanderson Plumbing Prods.,
    530 U.S. 133 (2000) ...................................................................................................................1

 Richter Concrete Corp. v. Hilltop Concrete Corp.,
    691 F.2d 818 (6th Cir. 1982) ...................................................................................................19

 Sanderson v. Culligan Int’l Co.,
    415 F.3d 620 (7th Cir. 2005) ...........................................................................................5, 6, 23

 United States v. Shambaum,
    10 F.3d 305 (5th Cir. 1994) .....................................................................................................43

 Spectrum Sports, Inc. v. McQuillan,
    506 U.S. 447 (1993) .............................................................................................................4, 16

 Stearns Airport Equip. Co. v. FMC Corp.,
     170 F.3d 518 (5th Cir. 1999) ...........................................................................................3, 6, 23

 Sterling Merch., Inc. v. Nestle, S.A.,
     656 F.3d 112 (1st Cir. 2011) ....................................................................................................18

 Tate v. Pac. Gas & Elec. Co.,
    230 F. Supp. 2d 1072 (N.D. Cal. 2002) ...................................................................................12

 Taylor Pub. Co. v. Jostens, Inc.,
    216 F.3d 465 (5th Cir. 2000) ........................................................................................... passim

 Times-Picayune Pub. Co. v. United States,
    345 U.S. 594 (1953) ...........................................................................................................22, 23




                                                                    vii
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 9 of 61 PageID #: 26455



 Treadaway v. Societe Anonyme Louis-Dreyfus,
    894 F.2d 161 (5th Cir. 1990) ...................................................................................................39

 Virgin Atl. Airways Ltd. v. British Airways, PLC,
    257 F.3d 256 (2d Cir. 2001).....................................................................................................18

 Walgreen Co. v. AstraZeneca Pharm. L.P.,
    534 F. Supp. 2d 146 (D.D.C. 2008) ...................................................................................12, 15

 Weisgram v. Marley Co.,
    528 U.S. 440 (2000) ...................................................................................................1, 9, 34, 49

 Wellogix, Inc. v. Accenture,
    716 F.3d 867 (5th Cir. 2013) ...............................................................................................1, 50

 White v. Grinfas,
    809 F.2d 1157 (5th Cir. 1987) .................................................................................................44

 United States v. William Cramp & Sons Ship & Engine Bldg. Co.,
    206 U.S. 118 (1907) .................................................................................................................44

 Winter v. NRDC,
    129 S. Ct. 365 (2008) ...............................................................................................................46

 STATUTES

 15 U.S.C. § 1125(a)(1)(B) .............................................................................................................45

 Sherman Act § 2..................................................................................................................... passim

 OTHER AUTHORITIES

 Areeda & Hovenkamp, Antitrust Law (3d ed. 2008)............................................................. passim

 Fed. R. Civ. P. 50 .......................................................................................................................1, 50

 Fed. R. Civ. P. 59 .......................................................................................................................1, 50

 Fed. R. Evid. 301 ...........................................................................................................................46

 Herbert Hovenkamp, ed., 5 MOD. SCI. EVID. § 46:8 (2012-2013 ed.) ...........................................38

 Restatement (Second) of Judgments 524(2) ..................................................................................41




                                                                      viii
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 10 of 61 PageID #: 26456



                                           INTRODUCTION

         Because Plaintiffs Retractable Technologies, Inc. and Thomas J. Shaw1 (“RTI”) failed to

 present sufficient evidence to support the verdict on their Sherman Act and Lanham Act claims,

 BD renews its motions for judgment as a matter of law on those claims. Docs. 563-566.

 Alternatively, BD seeks a new trial or a suggestion of remittitur.

         The jury found for RTI on its Sherman Act claim for attempted monopolization of the

 safety syringe market based on “deception” (while rejecting the rest of RTI’s antitrust claims).

 The jury also found for RTI on its Lanham Act claims related to BD’s advertising regarding

 waste space and needle sharpness. The jury awarded antitrust damages of $113,508,014 for

 “deception regarding safety syringes,” but it awarded no “anticompetitive contracting damages”

 and it was not asked to award damages under the Lanham Act. Doc. 577 at 2-4.

         Judgment as a matter of law is proper if there was no legally sufficient evidentiary basis

 to find for RTI on any essential element of its case, or if the evidence points so strongly and so

 overwhelmingly in favor of BD that no reasonable juror could return a contrary verdict. Fed. R.

 Civ. P. 50(a)-(b); Reeves v. Sanderson Plumbing Prods., 530 U.S. 133, 149 (2000); Fractus, S.A.

 v. Samsung Elecs. Co., 876 F. Supp. 2d 802, 813 (E.D. Tex. 2012).2

         A new trial is appropriate if the verdict, though supported by legally sufficient evidence,

 is contrary to the great weight of the evidence. Fed. R. Civ. P. 59; Wellogix, Inc. v. Accenture,

 716 F.3d 867, 881 (5th Cir. 2013); Cates v. Creamer, 431 F.3d 456, 460 (5th Cir. 2005).

 Similarly, a suggestion of remittitur is appropriate if the damages awarded by the jury exceed the

 1
     In addition to the grounds set forth below, judgment as a matter of law should be granted as to all
 claims by Thomas J. Shaw because there is no evidence that Shaw suffered any injury in his individual
 capacity for which relief could be granted and he thus lacks standing. See Docs. 171, 258.
 2
   In addition, neither speculative or conclusory assertions of experts nor unreliable expert opinions are
 “substantial evidence” under Rule 50. Weisgram v. Marley Co., 528 U.S. 440, 454-57 (2000); Brooke
 Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 242-43 (1993).


                                                    1
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 11 of 61 PageID #: 26457



 maximum amount that a reasonable jury could award. Gorsalitz v. Olin Mathieson Chem. Corp.,

 429 F.2d 1033, 1046 (5th Cir. 1970).


                                            ARGUMENT
 I.     Judgment as a Matter of Law Should Be Granted to BD Because There Is No
        Substantial Evidence to Support the Attempted Monopolization Verdict.

        The jury rejected all of RTI’s claims based on “anticompetitive contracting” and

 “deception” for monopolization, contractual restraint of trade, and exclusive dealing. Doc. 577

 at 2-3. Based on “deception,” the jury found for RTI on one claim: attempted monopolization in

 the safety syringe market. Id. That verdict, along with the $113 million in “deception” damages,

 cannot be sustained as a matter of law and is not supported by the evidence at trial.

        The claim that false advertising and product disparagement “would be sufficient to turn a

 nonmonopolist [like BD] into a monopolist” cannot succeed, except perhaps “in rare and gross

 cases.” 3B Areeda & Hovenkamp Antitrust Law, ¶ 782a at 321-22 (3d ed. 2008). Misleading

 ads and product comparisons are prevalent -- indeed, they most often are found -- in highly

 competitive markets. Exaggerating the virtues of one’s own product or misrepresenting the

 features of a rival’s may be unfair, but they do not indicate a lack of competition and do not

 threaten to “destroy competition itself.” 3B Areeda & Hovenkamp, ¶ 807c2. That is why the

 Fifth Circuit has held that “the purposes of antitrust law and unfair competition law generally

 conflict.” Nw. Power Prods, Inc. v. Omark Indus., Inc., 576 F.2d 83, 88 (5th Cir. 1978). An act

 of “unfair competition” like false advertising “is still competition” and, therefore, raises no

 antitrust issue unless used in an extreme case to gain monopoly power “by eliminating a rival

 concern from the market.” Id. at 88-89 (emphasis added).

        This is not such a “rare and gross” case. There is no substantial evidence that the

 allegedly “deceptive” conduct satisfies the three liability elements for attempted monopolization:


                                                  2
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 12 of 61 PageID #: 26458



 that “(1) the defendant engaged in predatory or exclusionary conduct, (2) the defendant had a

 specific intent to monopolize, and (3) there was a dangerous probability that the defendant would

 successfully attain monopoly power.” Taylor Pub. Co. v. Jostens, Inc., 216 F.3d 465, 474 (5th

 Cir. 2000). Thus, BD is entitled to judgment as a matter of law on the attempted monopolization

 claim under Section 2 of the Sherman Act.

        A.      RTI Failed to Present Substantial Evidence that BD Engaged in “Predatory
                or Exclusionary Conduct.”

        Exclusionary conduct under Section 2 is conduct “‘other than competition on the

 merits . . . that reasonably appears capable of making a significant contribution to creating or

 maintaining monopoly power.’” Taylor, 216 F.3d at 475 (quoting 3 Areeda & Hovenkamp,

 Antitrust Law ¶ 651 at 82 (1996)) (emphasis added); see Stearns Airport Equip. Co. v. FMC

 Corp., 170 F.3d 518, 522 (5th Cir. 1999). To find that BD engaged in exclusionary conduct for

 an attempted monopolization claim, there must be substantial evidence that BD’s product claims

 (e.g., “World’s Sharpest Needle”) and product offerings (e.g., the 3mL Integra syringe) could

 “bring about reduced output and ‘monopoly’ prices” by “tend[ing] to destroy competition itself.”

 3B Areeda & Hovenkamp, ¶ 807c2 (emphasis added).

        As one court explained in holding that false advertising presumptively is not

 exclusionary, “[t]he Sherman Act is not a panacea for all evils that may infect business life.”

 Berkey Photo, Inc. v. Eastman Kodak Co, 603 F. 2d 263, 288 n.41 (2d Cir. 1979). While RTI

 argues that there is no finite list of anticompetitive acts, the Supreme Court ruled in its landmark

 case on attempted monopolization that such acts must tend “to destroy competition itself”:

        The purpose of the [Sherman] Act is not to protect businesses from the working of
        the market; it is to protect the public from the failure of the market.

        The law directs itself not against conduct which is competitive, even severely so,
        but against conduct which unfairly tends to destroy competition itself.



                                                  3
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 13 of 61 PageID #: 26459



 Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 458 (1993) (emphasis added). As such,

 “Antitrust law is rife with . . . examples of what competitors find to be disreputable business

 practices that do not qualify as predatory behavior.” Taylor, 216 F.3d at 476.

        Here, the conduct that RTI claimed to be exclusionary was: (1) false advertising about

 BD’s own products and about RTI’s products, and (2) disparagement by infringing RTI’s

 patents, “combined with” making and selling retractable syringes (Integra) that functioned poorly

 and thereby “tainted the market” for all retractable syringes. See Doc. 570 at 6. RTI tried to

 prove that the false advertising and infringement/tainting were part of a single antitrust scheme

 involving “exclusionary” hospital contracts and “loyalty” discounts.        With respect to those

 contract-related claims, RTI presented the testimony of Einer Elhauge, who analyzed “10 million

 observations” of sales data, ran 15 statistical “regression” analyses, and wrote five expert reports

 purporting to show that BD’s pricing and contracting practices were harmful to the competitive

 process. 9/11:12, 100, 104-105 (AM). The jury rejected those claims, finding no liability for

 monopolization, restraint of trade or exclusive dealing, and finding that RTI is entitled to zero

 damages for its “anticompetitive contracting” claims. Doc. 577 at 2-4.

        Although the jury found that RTI is entitled to so-called antitrust “deception” damages,

 RTI presented no expert testimony or other evidence to prove that BD’s advertising or “tainting”

 was exclusionary -- i.e., threatened to destroy competition itself. Unlike the voluminous (if

 erroneous) analytical work he did with respect to BD’s contracts, Elhauge did not present a

 single economic test, calculation, regression or empirical study to try to show that BD’s

 advertising was exclusionary. He did not even mention patent infringement or “tainting.”

        This failure of proof is not surprising. “The concern of § 2 is with monopoly, not

 unfairness or deception.” 3 Areeda & Hovenkamp, ¶ 651h (emphasis added). There must be

 substantial evidence that the unfair or deceptive conduct caused harm to competition, not to one

                                                  4
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 14 of 61 PageID #: 26460



 competitor. “Accordingly, it is not enough under § 2 to find that a firm has engaged in ‘unfair’

 conduct; the antitrust tribunal must also decide that the conduct has had, or is likely to have, the

 effect of significantly impairing the ability of rivals to compete.” Id.

        As demonstrated below, BD is entitled to judgment as a matter of law under the first

 requirement for attempted monopolization -- “predatory or exclusionary conduct” -- because (1)

 none of the conduct complained of is cognizable as anticompetitive conduct; and (2) even if such

 conduct could in some “rare and gross cases” rise to the level of harming competition, there is no

 substantial evidence that this is such an extreme and unusual case.

                1.        As a Matter of Law, the Challenged Conduct Is Not Anticompetitive
                          or Exclusionary.

        The Fifth Circuit has held that “patent infringement is not an injury cognizable under the

 Sherman Act.” Nw. Power, 576 F.2d at 88-89 (citing Kinnear-Weed Corp. v. Humble Oil &

 Refining Co., 214 F.2d 891, 894 (5th Cir. 1954)). The harm that patent infringement causes to

 patent holders, as individual competitors, is not harm to competition of the type prevented by the

 Sherman Act. Patent infringement, by its nature, increases rather than decreases competition by

 increasing, rather than decreasing, the output of products available to consumers. See Kinnear-

 Weed, 214 F.2d at 894. RTI’s infringement/tainting claim is legally untenable for that very

 reason: RTI complains that BD marketed a competitive retractable syringe. That is more

 competition, not less.

        For similar reasons, the Seventh Circuit has held that making false statements about a

 competitor’s products is not “actionable under the antitrust laws.” Sanderson v. Culligan Int’l

 Co., 415 F.3d 620, 624 (7th Cir. 2005). “Some other law may require judicial intervention in

 order to increase the portion of truth in advertising; the Sherman Act does not.” Id. This is

 because “[a]ntitrust law condemns practices that drive up prices by curtailing output. . . . False



                                                   5
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 15 of 61 PageID #: 26461



 statements about a rival’s goods do not curtail output in either the short or the long run. They

 just set the stage for competition in a different venue: the advertising market.” Id. at 623

 (emphasis added). Thus, a falsehood about a competitor is not a matter for the antitrust laws,

 “which are concerned with the protection of competition, not competitors.” Mercatus Group,

 LLC v. Lake Forest Hosp., 641 F.3d 834, 852 (7th Cir. 2011) (internal quotation marks omitted)

 (citing Nw. Power, 576 F.2d at 88).

         This is consistent with the Fifth Circuit precedent cited by the Seventh Circuit: “The

 thrust of antitrust law is to prevent restraints on competition.           Unfair competition is still

 competition and the purpose of the law of unfair competition is to impose restraints on that

 competition.”     Nw. Power, 576 F.2d at 88. In Stearns, the Fifth Circuit found that even if a

 firm’s sales presentations contained “wrong or “misleading” statements about its products and its

 rival’s products, “they are all arguments on the merits, indicative of competition on the merits.”

 170 F.3d at 524 (emphasis added). The fact that promotional claims are misleading or false is

 not indicative of an anticompetitive purpose because its competitive purpose is “obvious: it was

 trying to sell its product.” Id.3 The same principles apply to all of RTI’s allegations of deception

 as exclusionary conduct.

         Accordingly, BD’s advertising and competing products -- even if “wrong” or

 “misleading” -- cannot legally constitute exclusionary conduct in support of a Section 2 claim.




 3
    By contrast, true exclusionary conduct is “economically irrational” absent an anticompetitive objective
 -- e.g., below-cost pricing intended to put a rival out of business. False advertising makes perfect
 economic sense as a method (albeit unfair) to win more business. See Stearns, 107 F.3d at 524; see also
 Sanderson, 415 F.3d at 623 (“Much competition is unfair, or at least ungentlemanly; it is designed to take
 sales away from one’s rivals.”) Here, there is no evidence that BD’s advertising was “economically
 irrational” absent an intent to destroy competition.

                                                     6
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 16 of 61 PageID #: 26462



                2.     There Is No Substantial Evidence that BD’s Conduct Was, In Fact,
                       Exclusionary.

        Even if false advertising, disparagement or patent infringement could in theory constitute

 exclusionary conduct, far more than harm to a competitor (like RTI) would be necessary to

 establish that the conduct posed a “significant and enduring adverse impact to competition

 itself.” Am. Prof’l. Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal and Prof’l. Pubs.,

 Inc., 108 F.3d 1147, 1152 (9th Cir. 1997). Though “disparagement of a rival . . . may be

 unethical and even impair the opportunities of a rival, its harmful effects on competitors are

 ordinarily not significant enough to warrant recognition under § 2 of the Sherman Act.” Id. at

 1151. “Proof of harm to a specific competitor, which is all that tort law [e.g., the Lanham Act]

 typically requires, is almost never sufficient to meet the antitrust concern” -- i.e., does the

 conduct threaten to destroy the competitive restraints imposed on the defendant against charging

 monopoly prices. 3B Areeda & Hovenkamp, ¶ 782.

        Thus, there must be substantial evidence of “‘significant and more-than-temporary

 harmful effects on competition (and not merely upon a competitor or customer)’ before these

 practices can rise to the level of exclusionary conduct.” Harcourt, 108 F.3d at 1151 (citing 3

 Areeda & Turner, Antitrust Law ¶ 737b at 278 (1978)) (emphasis original). Several Circuit

 Courts have adopted a presumption that such conduct has only a de minimis -- i.e., non-

 actionable -- impact on competition. See Harcourt, 108 F.3d at 1152; Am. Council of Certified

 Podiatric Physicians & Surgeons v. Am. Bd. of Podiatric Surgery, Inc., 323 F.3d 366, 370 (6th

 Cir. 2003); Nat’l Ass’n of Pharm. Mfrs., Inc. v. Ayerst Labs., 850 F.2d 904, 916 (2d Cir. 1988).

 As one held:

        While false or misleading advertising directed solely at a single competitor may
        not be competition on the merits, the fliers in question must have a significant and
        enduring adverse impact on competition itself in the relevant markets to rise to the
        level of an antitrust violation.


                                                 7
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 17 of 61 PageID #: 26463



 Harcourt, 108 F.3d at 1152 (emphasis added). 4

         District courts in the Fifth Circuit likewise have found that, “[o]nly in the most extreme

 circumstances can disparagement form the basis for an antitrust claim; it is assumed to have a de

 minimis impact on competition.” Funeral Consumers Alliance, Inc. v. Serv. Corp. Int’l, 2008

 WL 7356272, at *12 (S.D. Tex. Nov. 24, 2008) (emphasis added); see also L-3 Commc’ns

 Integrated Sys., L.P. v. Lockheed Martin Corp., 2008 WL 4391020, at *7 (N.D. Tex. Sept. 29,

 2008) (the de minimis presumption is “relatively consistent with the Fifth Circuit’s fundamental

 view of the nature of exclusionary conduct”).

         As shown below, whether a de minimis presumption is applied or not, there is no

 substantial evidence to show that BD’s advertising, disparagement (“tainting”), or patent

 infringement threatened to destroy competition itself in the safety syringe market.

                         (a)     False Advertising: There Is No Substantial Evidence that BD’s
                                 Advertising Was Exclusionary Conduct.

         The evidence is legally insufficient to prove that BD’s needle sharpness or waste space

 advertising claims were exclusionary. There also is no substantial evidence that BD’s “safety”

 claims are exclusionary, especially as the Court determined that none of those claims is

 actionable as false advertising.

         First, RTI presented no substantial evidence to prove that BD’s advertising was “capable

 of making a significant contribution to creating or maintaining monopoly power” in the market

 for safety syringes. Taylor, 216 F.3d at 475 (internal quotation marks omitted).



 4
   There is a six-factor test to rebut the presumption, which the Second and Ninth Circuits (among other
 courts) have adopted: The presumption could be overcome “by cumulative proof that the representations
 were (1) clearly false, (2) clearly material, (3) clearly likely to induce reasonable reliance, (4) made to
 buyers without knowledge of the subject matter, (5) continued for prolonged periods, and (6) not readily
 susceptible of neutralization or other offset by rivals.” Harcourt, 108 F.3d at 1152; Ayerst, 850 F.2d at
 916; see also David L. Aldridge Co. v. Microsoft Corp., 995 F. Supp. 728, 749 (S.D. Tex. 1998) (applying
 the six-factor test). There is no substantial evidence to meet that test in this case.

                                                     8
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 18 of 61 PageID #: 26464



        Second, the trial evidence demonstrates that the alleged false advertising did not prevent

 RTI or any other competitor from competing to sell its products in the market.

                         (i)     No Substantial Evidence that BD’s Advertising Was Capable of
                                 Creating Monopoly Power.

        RTI presented no expert opinion and no fact testimony to establish that BD’s alleged

 false advertising was capable of creating monopoly power in the market for safety syringes --

 that is, “‘the power to control price or exclude competition.’” United States v. American Airlines,

 Inc., 743 F.2d 1114, 1117 (5th Cir. 1984) (quoting United States v. E.I. du Pont de Nemours &

 Co., 351 U.S. 377, 391 (1956)).

        RTI’s antitrust liability expert, Einer Elhauge, conducted no economic tests, studies or

 statistical analyses to even try to demonstrate that BD’s advertising had an anticompetitive

 effect. At trial, Elhauge finessed this absence of proof by stating his belief that BD’s advertising,

 if proven to be false, would be anticompetitive. 9/11:120-21 (AM). He theorized how false

 advertising could harm competitors by causing them to lose sales and by raising their costs. Id.

 at 121-22. But he offered no economic evidence to prove that any such harm to competitors had

 actually occurred or was likely to occur as a result of BD’s advertising -- much less any harm to

 competition. Elhauge’s theory does not constitute “substantial evidence” in support of the

 verdict. See Weisgram v. Marley Co., 528 U.S. 440, 454-57 (2000); Brooke Group Ltd. v.

 Brown & Williamson Tobacco Corp., 509 U.S. 209, 242-43 (1993).

        The basis for Elhague’s unsubstantiated theory is a hypothetical that illustrates the kind

 of “rare and gross” facts that are completely missing here. See Doc. 395 Ex. A-1 at 135-36.

 Elhague hypothesizes an imaginary market with only two firms (A and B), and supposes that

 Firm A uses deceptive advertising aimed at Firm B. Because of its cost structure, Firm B is




                                                  9
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 19 of 61 PageID #: 26465



 unable to compete offering lower prices. Id. As a result, Firm B is driven out of business,

 leaving Firm A alone with monopoly power. Id.

         RTI offered no evidence, via Elhauge or otherwise, to prove that BD’s advertising had, or

 could have had, that type of exclusionary effect. The evidence proves to the contrary:

         (1) BD faces substantial competition from multiple rivals in the market for safety

 syringes. As of 2010, Covidien had 30% market share in safety syringes and Smiths had 10%.

 9/17:50 (AM); Declaration of William B. Michael dated Oct. 11, 2013, Ex. A; DX2155. Even if

 BD’s ads had prevented RTI from offering lower prices (which they did not), and even if the ads

 had driven RTI out of the market (which they did not), there is no evidence that the price-

 restraining effect of these other formidable competitors could have been so impaired by BD’s

 advertising that BD could have acquired the power to charge monopoly prices. See 9/17:49-52,

 58-60, 71-72, 152-54 (AM).

         (2) BD’s allegedly deceptive conduct has not driven RTI, or anyone else, out of the

 safety syringe market. The competitors’ share of the market has steadily risen -- to more than

 50% -- since BD embarked on its course of allegedly anticompetitive advertising. 9/17:52-53

 (AM); Michael Ex. B; DX2155. BD, meanwhile, has not succeeded in becoming the only seller

 of safety syringes, or even come close. 9/17:50 (AM); Michael Ex. C; DX2155. Its market

 share went down during the period in question. 9/17:52-53 (AM); Michael Ex. B; DX2155.5

         (3) There is no substantial evidence that BD’s advertising prevented RTI, or anyone else,

 from competing for business by offering lower prices. RTI presented no evidence that BD’s


 5
    In Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 591 (1986), the Supreme Court
 rejected the plaintiffs’ claim of a predatory pricing conspiracy in part because, “two decades after their
 conspiracy is alleged to have commenced,” the defendants had failed to drive plaintiffs out of the market
 or even reduce their market shares and, thus, their goal of obtaining enough market power to charge
 monopoly prices was “yet far distant.” Here, similarly, BD’s alleged anticompetitive conduct lasted for at
 least seven, and as many as 25 years (see infra at 18), and yet BD has not succeeded in driving any
 competitor out of the market or in obtaining the monopoly power it allegedly sought.

                                                    10
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 20 of 61 PageID #: 26466



 advertising affected, or was capable of affecting, marketwide pricing of safety syringes. All the

 economic evidence proves otherwise.      See 9/17:153-54 (AM).      The selling prices for BD,

 Covidien and Smiths safety syringes fall within a tight competitive range of 21 to 23 cents, and

 prices have not risen significantly over time -- all of which indicates active price competition.

 9/17:58 (AM); Michael Exs. C, E-J; DX2153; DX2155. Within the segments of the safety

 syringe market, the economic evidence shows aggressive competition between BD, Covidien and

 Smiths. 9/17:53-56, 58-61 (AM); Michael Exs. C, F-H; DX1661; DX2153; DX2115. And while

 RTI chooses to charge higher prices, the evidence proves that RTI’s cost and capacity enable it

 to price its products for much less to match or beat the competition. 9/16:78, 167 (AM);

 9/17:58-62, 112-18 (AM); 9/18:135-36 (AM); Michael Exs. E-H; DX1661; DX2155; see also

 9/16:146-47, 153-54 (AM). Indeed, within the retractable segment of the market, RTI has

 successfully competed on price and won 67% of the business. 9/16:165 (AM); 9/17:54-55, 61-

 62, 156 (AM); Michael Exs. I-J; DX1661; DX2153; DX2155.

        Lastly, the evidence also fails to establish that even RTI itself was harmed.         RTI

 presented no witness to testify that the challenged advertising had an impact on marketwide

 purchasing decisions. To the contrary, RTI’s marketing expert Carol Scott admitted that she

 made no inquiry into whether any of the challenged advertising affected decisions to purchase

 from BD or RTI; that she had no opinion as to whether BD’s advertising hurt RTI’s sales; and

 that she had no statistically meaningful evidence that BD’s allegedly false waste space claim had

 any impact on consumers. 9/12:30-32, 37-42 (PM). Likewise, she did not examine whether the

 advertising affected buyers’ decisions to purchase from Smiths or Covidien. 9/12:29-30 (PM).

 RTI also presented no testimony from actual purchasers that they were misled by BD’s




                                                11
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 21 of 61 PageID #: 26467



 advertising, or that it was material to their purchasing decisions. The only purchaser testimony

 proves the opposite. 9/17:16, 31-33 (AM); 9/17:153-54, 177, 191 (PM).6

         In sum, there is no evidentiary basis on which a reasonable jury could conclude that BD’s

 advertising had the potential to destroy competition itself.

                           (ii)    No Substantial Evidence that BD’s Advertising Prevented RTI,
                                   or Any Other Competitor, From Competing for Business.

         There is no substantial evidence that BD’s advertising had the potential to harm

 competition as a whole by “significantly impairing the ability of rivals to compete.” 3 Areeda &

 Hovenkamp, ¶ 651h. RTI presented no evidence to show that BD’s advertising had any impact

 on the ability of the other competitors, like Smiths and Covidien, to compete for and win

 business. In fact, the economic evidence proves otherwise. See supra at 10-11. The evidence

 also shows that other rivals were able to respond directly to BD’s advertising through advertising

 of their own. See Am. Council, 323 F.3d at 372 (“There can be no harm to competition, such as

 the exclusion of competitors, when the victims of false advertising are easily able to counter it.”).

 With respect to needle sharpness, at least one competitor (Terumo) conducted its own tests and

 ran its own advertisements challenging BD’s claims. 9/17:101 (PM); PX731.

         Further, as discussed above, RTI failed to prove any substantial harm, even to itself. At

 trial, RTI referred to a handful of customers whose business RTI might have lost as a result of

 6
   That testimony demonstrates that buyers of safety syringes are sophisticated and highly-trained medical
 professionals, including nurses and doctors, who evaluate competing safety syringe products themselves
 and make purchasing decisions based on their own experiences. 9/17:12-15, 27-30 (AM); 9/17:175-177,
 187-188, 191, 199-200 (PM); 9/18:26-28 (AM). With respect to the “waste space” and “safety” claims,
 buyers of the products not only are knowledgeable about the subject matter, but conduct their own
 product tests and studies. 9/17:32-33 (AM); 9/17:173-177, 189-190, 199-200 (PM); 9/18:26-30 (AM).
 See Walgreen Co. v. AstraZeneca Pharm. L.P., 534 F. Supp. 2d 146, 152 (D.D.C. 2008) (dismissing § 2
 claim based in part on false prescription drug information because, inter alia, plaintiff could not “hope” to
 show a substantial competitive effect where the consumers of the information were “medical
 professionals, that is, persons knowledgeable of the subject matter”); Tate v. Pac. Gas & Elec. Co., 230 F.
 Supp. 2d 1072, 1080 (N.D. Cal. 2002) (holding that plaintiff’s allegations of product disparagement were
 insufficient to constitute anticompetitive conduct where, inter alia, the “type of customers at issue was
 sufficiently sophisticated so as not to be fooled easily by [defendant’s] misinformation”).

                                                      12
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 22 of 61 PageID #: 26468



 BD’s advertising, but did not try to prove the amount of business -- if any -- that RTI actually

 lost. See, e.g., 9/9:115-16 (PM); 9/12:170-77 (AM). That is the very definition of a de minimis

 effect. In fact, the evidence showed that with respect to some of the biggest pharmacy chains

 that were exposed to BD’s waste space claim (e.g., Walgreens and Safeway), RTI’s sales

 increased dramatically. 9/16:119, 163 (AM); 9/18:77-78 (AM); Michael Exs. K-N; DX1661.

 And while claiming that BD made false and disparaging statements to GPOs and distributors, the

 evidence showed that RTI won safety syringe contracts with every major GPO and made

 distribution arrangements with every major distributor. DX0059; DX0028; Michael Exs. O-P;

 DX1661; 9/17:78-79, 155 (AM).

                        (b)     Disparagement/Tainting: There is No Substantial Evidence
                                that BD’s Advertising Was Exclusionary Conduct.

        There is no substantial evidence from which a reasonable jury could conclude that BD’s

 alleged disparagement, or “tainting” of the market for retractable syringes, constituted

 exclusionary conduct. At trial, RTI devoted significant time trying to show that BD’s retractable

 syringe (the Integra) was a faulty product. However, RTI failed to prove (i) that Integra actually

 “tainted” the market or disparaged RTI -- i.e., that a single customer declined to buy from RTI

 because Integra turned them off to retractables; and (ii) assuming Integra did “disparage” RTI,

 that such unfair competition threatened to destroy competition in the safety syringe market.

                        (i)     No Substantial Evidence that BD’s Integra “Tainted” the
                                Market.

        First, RTI presented no fact witness testimony to prove that customers were dissuaded

 from buying RTI’s syringe because of the Integra. Not a single customer testified at trial that he

 or she chose not to buy RTI’s product because of the Integra.               Nor did any RTI sales

 representatives testify that their efforts were thwarted by the “taint” left by Integra.




                                                   13
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 23 of 61 PageID #: 26469



        Second, RTI presented no expert testimony to show that RTI’s sales were reduced by a

 single unit due to Integra, or that consumers had a negative perception of retractable syringes as

 a result of the Integra. On the contrary, RTI’s consumer perception expert, Carol Scott, testified

 that a representative sample of nurses rated RTI’s VanishPoint to be the best, safest and most

 desirable safety syringe. 9/12:13-17 (PM). Scott surveyed the market for RTI and found no

 evidence of tainting. 9/12:56 (PM).

        Third, customers that purchased both Integra and VanishPoint syringes were not

 “poisoned” against retractables by their experiences with the Integra. See 9/18:71-73 (AM).

 Customers exposed to Integra were just as likely to keep using RTI’s product as customers who

 never bought Integra. Id. at 72. The customers who tried the Integra actually went on to buy

 more retractable syringes from RTI than customers who did not. Id. at 72-73. Further, when BD

 removed its allegedly tainting (and patent infringing) 1mL Integra from the market in 2009, the

 sales of that product shifted to RTI’s 1mL VanishPoint. Michael Ex. Q; DX2155. Rather than

 poisoning customers against retractables, the volume of 1mL Integra purchases migrated to RTI.

                       (ii)    No Substantial Evidence that “Tainting” Was Anticompetitive.

        Even if there were evidence that the Integra actually “tainted” the market, there is no

 evidence that the effect was exclusionary -- i.e., that it threatened to destroy the competitive

 process in the entire safety syringe market, rather than merely reduce the sales of one competitor

 (RTI) in one segment (retractables). Elhauge did not even mention RTI’s tainting claim. And

 RTI presented no evidence that by offering a low quality product, BD prevented competitors

 from competing for business -- especially competitors other than RTI.

        RTI failed to present any evidence to show that BD’s marketing of that product was

 anything other than competition on the merits in the retractable segment -- a competition in

 which BD was the loser. 9/17:54-55, 61-62, 156 (AM); Michael Exs. I-J; DX1661; DX2153;


                                                14
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 24 of 61 PageID #: 26470



 DX2155. That Integra allegedly was inferior and cost more than RTI’s syringe only created a

 competitive opportunity for RTI to prevail in the retractable segment of the market -- which it

 did. Id. But in any event, the introduction and marketing of additional new products, even poor

 quality products, creates more competition, not less. Walgreen Co., 534 F. Supp. 2d at 151.7

                         (c)     Patent Infringement: There is No Substantial Evidence that
                                 BD’s Non-Willful Patent Infringement Was Exclusionary
                                 Conduct.

         Contrary to its argument before trial, that patent infringement formed an integral part of

 its “tainting” theory with respect to the 1mL Integra (see, e.g., Doc. 484 at 1), RTI failed to

 present any evidence to establish such a link. RTI’s own engineering/infringement expert, Neil

 Sheehan, testified that he found no evidence that BD intended to taint the market: “I have no

 opinion as to whether or not they were trying to taint the market.” 9/9:60 (PM).

         At RTI’s request, the jury was asked to consider whether BD engaged in anticompetitive

 conduct by “infringing upon Retractable’s patents by selling a product that allegedly exhibited

 design flaws and allegedly tainted the market with respect to all retractable syringe products.”

 Doc. 567 at 17. Despite the patent jury’s rejection of RTI’s claim that the infringement was

 willful, RTI argued to this jury that BD had hampered RTI’s success by “knocking off our

 patent” and “steal[ing]” RTI’s technology. 9/19:136:2-6, 138:23-25; Michael Ex. S.

         RTI presented no evidence, however, to establish that BD’s act of patent infringement

 was anticompetitive.      Elhauge did not discuss patent infringement even once in his trial

 testimony, much less attempt to show through economic analysis how infringing a rival’s patents

 could harm competition. He presented no opinion and no proof that patent infringement by the


 7
    RTI also did not prove that the Integra conveyed any false statements about RTI or its retractable
 syringe. RTI alleged a product disparagement claim, but dropped it at trial: it could not, and did not,
 present substantial evidence to establish the requisite elements of that claim, including that BD published
 defamatory statements about RTI that were false. Hurlbut v. Gulf Atl. Life Ins. Co., 749 S.W.2d 762, 766
 (Tex. 1987).

                                                     15
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 25 of 61 PageID #: 26471



 1mL Integra led to higher prices or reduced output in the market for safety syringes, was likely to

 lead to higher prices or reduced output in that market in the future, or had any impact on any

 competitor in the market other than RTI. Given that sales of the 1mL Integra amounted to less

 than 1% of the 8.3 billion unit safety syringe market, it is understandable why RTI failed to

 prove any adverse impact on competition. DX2155.

        RTI presented nothing more than what the patent jury already found: that BD’s 1mL

 Integra infringed RTI’s patents, without a finding of willfulness, and caused an economic injury

 solely to RTI.     That fact is not legally sufficient to establish that such conduct was

 anticompetitive. See Nw. Power, 576 F.2d 83 at 88-89; Masimo Corp. v. Tyco Healthcare Grp.,

 L.P., 2004 WL 5907538, at *13 (C.D. Cal. June 10, 2004).

        B.      RTI Failed to Present Substantial Evidence Establishing a “Dangerous
                Probability” that BD Would Achieve Monopoly Power in the Market for
                Safety Syringes.

        To uphold the attempted monopolization verdict, there must be substantial evidence that

 BD’s advertising, alleged “tainting” and patent infringement created “a dangerous probability of

 actual monopolization.” Spectrum Sports, 506 U.S. at 456; see Doc. 567, § 7.2 at 21.

        Evidence of a “dangerous probability” of monopolization is necessary to ensure that the

 antitrust law is not misapplied to overcompensate individual competitors for unfair or unethical

 business practices. As the Fifth Circuit held, the “requirement that an accused’s conduct have a

 dangerous probability of success expresses a significant antitrust principle that the antitrust laws

 protect competition, not competitors, and its related principle that the Sherman Act does not

 reach practices only unfair, impolite, or unethical.” American Airlines, 743 F.2d at 1117. Thus,

 the dangerous probability test is not met “by inquiring only whether the defendant has engaged

 in ‘unfair’ or ‘predatory’ tactics.” Spectrum Sports, 506 U.S. at 459. The “concern with an

 attempt” is not whether BD misrepresented its safety syringes or disparaged RTI’s, but whether


                                                 16
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 26 of 61 PageID #: 26472



 it could “bring about reduced output and ‘monopoly’ prices in that very market.” 3B Areeda &

 Hovenkamp, ¶ 807c2 (citing Spectrum Sports, 506 U.S. at 455).

        There is not sufficient evidence to find such a dangerous probability here:

        First, BD’s advertising claims and so-called “tainting” were in effect for at least seven

 years -- and some of BD’s “safety” claims have been in use for more than 20 years -- and yet BD

 failed to increase its own market share; failed to prevent new products from entering the market;

 failed to prevent competitors from expanding their market shares; failed to drive RTI (or anyone

 else) out of the market; and failed to acquire “‘the power to control prices or exclude

 competition.’” Am. Airlines, 743 F.2d at 1117 (quoting du Pont, 351 U.S. at 391).

        Second, there is no substantial evidence that BD’s conduct was dangerously likely to lead

 to the acquisition of monopoly power, even if that conduct had prevented RTI from gaining a

 larger market share (a fact which RTI also failed to prove).

        Third, there is no substantial evidence that BD’s “deceptive” conduct could lead to the

 creation of monopoly power in a market where large and well-organized buyers serve as a

 structural counterweight to the ability of any seller, including BD, to acquire such power.

                1.     There Is No Substantial Evidence that the Challenged Conduct
                       Was Likely to Lead to the Creation of Monopoly Power in the Future.

        Finding a dangerous probability requires finding that the conduct “threatens to create

 durable monopoly power.” 3B Areeda & Hovenkamp, ¶ 807j. The law, and common sense,

 teach that if the challenged conduct has continued for a long time without achieving such

 monopoly power, there is no “dangerous probability” that it will in the future. “We would find

 attempt claims presumptively implausible if the challenged conduct has been in place for at least

 two years and the remaining market remains robustly competitive, as evidenced by ongoing

 entry, profitability of rivals, and stability of their aggregate market share.”      3B Areeda &



                                                 17
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 27 of 61 PageID #: 26473



 Hovenkamp, ¶ 807f (emphasis added); see Sterling Merch., Inc. v. Nestle, S.A., 656 F.3d 112,

 126 (1st Cir. 2011) (applying implausibility presumption); Virgin Atl. Airways Ltd. v. British

 Airways, PLC, 257 F.3d 256, 269 (2d Cir. 2001) (same).

        This is just such an implausible -- and unproven -- attempt claim.

        BD’s allegedly false and disparaging statements were in use much longer than two years.

 According to RTI, the needle sharpness and waste space claims ran at least 7 years, from 2004

 through 2010. Doc. 73 ¶¶ 85, 328; Doc. 178 at 6; see also 9/9:96 (PM). Even if the Court had

 found them actionable, BD’s “safety” claims have been in the market for decades: BD began

 marketing its Safety-Lok Syringe as a “safety” product in 1988, 25 years ago and a decade

 before RTI’s syringe was on the market. Doc. 178 at 8; DX3279 at 41-42. The “World’s

 Sharpest Needle” claim dates back to at least 1991. Doc. 178 at 11; DX0009 at 2-5. The

 brochures with the “waste space” claims were first published in 2002. Doc. 178 at 2, 6-7;

 9/18:9-10 (PM Part 2). And with respect to the “tainting” claim, BD began marketing the 3mL

 Integra in 2002. 9/9:131-32 (AM); 9/9:28 (PM).

        Whether measured as 7 years or a quarter of a century, there is no substantial evidence

 that BD’s product claims and comparisons prevented, much less threatened to destroy,

 competition through new product entry, successful rivals or competitive market share gains. 3B

 Areeda & Hovenkamp, ¶ 807f. To the contrary, RTI and other competitors’ share of the market

 not only remained stable “in the aggregate,” but it increased. The market share controlled by

 BD’s competitors went up from 43.2% in 2004 to 51.4% in 2010. DX2155; Michael Ex. B;

 9/17:52-53 (AM). RTI’s own market share rose from 3.7% to 5.9%. DX2155; Michael Ex. C.




                                                18
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 28 of 61 PageID #: 26474



 BD’s market share, meanwhile, decreased from 56.8% to 48.6%. DX2155; Michael Ex. B;

 9/17:52 (AM).8

        In addition, BD’s biggest rival, Covidien, introduced a brand new safety syringe product

 (the “Magellan”) in the face of BD’s alleged conduct, and increased its share of “shielding

 needles” by 20% at BD’s expense. 9/17:55-57 (AM); see Michael Ex. D; DX2155. Evidence of

 expansion shows there is no “dangerous probability” of monopolization because the defendant --

 by definition -- “is not yet a monopolist, and the market is currently performing more

 competitively.” 3B Areeda & Hovenkamp, ¶ 807g. The fact that an existing rival is able to

 expand proves that BD is not succeeding, and is not likely to succeed, in “reducing marketwide

 output to monopoly levels without an offsetting output expansion by smaller rivals.” Id.

        The best evidence, however, that the market for safety syringes remained “robustly

 competitive” during BD’s long-running advertisements and “disparaging” product offering is the

 unabated price competition between BD, Covidien and Smiths. 9/17:48-51, 71-72, 153-54

 (AM); 9/17:11 (PM); 9/10:22-23 (PM).          BD’s expert economist, Kevin Murphy, testified

 (without contradiction) that by offering lower prices and competing aggressively for sales,

 Covidien and Smiths have prevented BD from acquiring the ability to control prices or restrict

 output. 9/17:48-52, 60-62, 71-72 (AM):

           As of 2010, average selling prices for all Covidien, Smiths and BD safety syringes
            fell within a competitive band of 21-23 cents, with BD in the middle at 22 cents,
            which “tells us that there’s a lot of competition going on between these sellers.”
            9/17:58-59 (AM); Michael Ex. E; DX2153; DX2155.

           BD’s average selling price was flat for most of the relevant time period, and rose by
            only one cent per syringe from 2004 through 2010. Prices marketwide have not risen
            significantly during the period of the alleged anticompetitive conduct. Michael Ex. E;
            DX2153; DX2155; see also Michael Ex. R; DX1661; 9/17:144-45 (AM).


 8
   See Arthur S. Langenderfer, Inc. v. S.E. Johnson Co., 917 F.2d 1413, 1431 (6th Cir. 1990); Richter
 Concrete Corp. v. Hilltop Concrete Corp., 691 F.2d 818, 826 (6th Cir. 1982).

                                                 19
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 29 of 61 PageID #: 26475



            In two of the four categories of safety syringes, BD’s average prices are lower than
             the competition. 9/17:59-61 (AM); Michael Exs. F-G; DX2153, DX2155.

            In the two categories where BD has a higher price than the competition -- retracting
             syringes and shielding needles -- it either comes in a distant second to its competitor
             (RTI, in the case of retracting syringes), or has lost significant share to its competitor
             (Covidien, in the case of shielding needles). 9/17:54-56, 61-63 (AM); Michael Exs.
             C-D, H-I; DX2153, DX2155.

         The evidence also shows that, for reasons having nothing to do with BD’s advertising,

 RTI chose not to price its safety syringe competitively. 9/16:78, 167 (AM); 9/17:58-62, 112-18

 (AM); 9/18:135-36 (AM); Michael Ex. E-H; DX1661; DX2155; see also 9/16:146-47, 153-54

 (AM). RTI’s average selling prices were as much as 48% higher than Covidien’s Magellan; 51%

 higher than Smiths’ Needle-Pro; and 114% higher than Covidien’s Safety Syringe. 9/17:58-61;

 Michael Exs. F-H; DX1661; DX2155. At trial, RTI made much of the fact that within the

 retracting syringe segment, its prices were lower than those of the BD Integra. See, e.g., 9/11:7,

 90 (PM). But, RTI outsold BD by a margin of 3 to 1 as of 2010. 9/17:61-63 (AM); Michael

 Exs. I-J; DX1661; DX2153; DX2155; see also, 9/16:165 (AM). The fact that RTI was far more

 successful at selling the VanishPoint against the higher-priced Integra proves that price

 competition is working, not lacking. 9/17:61-64, 155-56 (AM).9

                 2.      RTI Failed to Prove that the Challenged Conduct Was Likely to Lead
                         to Monopoly Power, Even If It Might Have Led to a Reduction in
                         RTI’s Market Share.

         Even if the challenged advertising and products had suppressed RTI’s own market share,

 that would not prove that BD had a dangerous probability of acquiring monopoly power. For

 variations in RTI’s market share to have an adverse impact on competition, it would have to be


 9
   Professor Murphy’s opinions are supported not only by economic data, but by the testimony of actual
 purchasers of safety syringes, who explained that if BD were to raise prices, they could respond by
 moving their business to any of the multiple other safety syringe competitors. 9/17:36 (AM); 9/17:63, 66-
 67, 74, 177, 190, 199 (PM); 9/18:9-10 (AM). A corporate representative of BD’s rival Covidien (Colin
 Preis), likewise testified that competition in the market for safety syringes -- among BD, Covidien,
 Smiths and others -- is “fierce, very aggressive, and very healthy.” 9/17:11 (PM).

                                                    20
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 30 of 61 PageID #: 26476



 the case that RTI itself is constraining its rivals’ pricing.10

         There is no such evidence, and the reason is simple: RTI charges the highest prices in the

 safety syringe market, other than Integra, and contends that it would charge the very same high

 prices in a “but for” world without BD’s allegedly “deceptive” conduct. 11 While BD, Covidien

 and Smiths are competing against each other in the 21-23 cent range, RTI prices its product 37-

 46% higher at 31 cents. Michael Ex. E; DX1661; DX2153; DX2155; 9/17:58-63 (AM). The

 notion that a non-competitively priced product is constraining the much lower-priced alternatives

 makes no economic or legal sense. 9/17:58-59, 71-72 (AM).

         In any event, RTI remains a viable competitor, and has succeeded in the very segment of

 the market -- retractable syringes -- where the alleged deceptive conduct was focused. If the

 retractable waste space claims and tainting actually created a dangerous probability of

 monopolizing the entire safety syringe market, one would expect that BD would at least have

 overtaken RTI in retractable syringes.        But, as of 2010, RTI’s retractable syringe was far

 outselling BD’s retractable syringe. 9/16:165 (AM); 9/17:61-62 (AM); Michael Ex. I; DX1661;

 DX2153; DX2155; see also 9/16:165 (AM). RTI’s sales of retractable syringes increased (61 to

 67%), while BD’s own retractable sales decreased (33 to 20%). Michael Exs. C, I; DX1661;

 DX2153; DX2155; 9/16:165 (AM); 9/17:61-62 (AM).

         Given that BD’s advertising and marketing of the Integra failed to give BD more than a

 modest share of the product segment being targeted, there is no evidentiary basis to conclude that


 10
    See Colo. Interstate Gas Co. v. Natural Gas Pipeline Co. of Am., 885 F.2d 683, 695-97 (10th Cir.
 1989) (reversing jury’s verdict on attempted monopolization claim where the only danger posed by
 defendant’s conduct was that it would “shift 13% of the market” from the plaintiff to the defendant).
 11
    For example, in 2008, the average selling price of RTI’s VanishPoint Syringe was 32 cents. Michael
 Ex. E; DX1661. By contrast, the average price of Covidien’s Safety Syringe was 18 cents. Michael Ex.
 F; DX2155. And the average price of Smiths’ Needle Pro was 23 cents. Michael Ex. G; DX2155. RTI’s
 CEO (Shaw) testified that, absent BD’s conduct, RTI’s prices would be even higher than they already are.
 9/16:146-54 (AM). See also Infra at 27.

                                                     21
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 31 of 61 PageID #: 26477



 the same advertising and marketing created a dangerous probability of giving BD a monopoly

 over the entire safety syringe market.

                  3.      RTI Failed to Prove that the Challenged Conduct Could Overcome
                          the Exercise of Buyer Power by the Consumers of Safety Syringes.

           Even if the evidence showed there was a possibility that BD’s advertising might lead to

 the acquisition of monopoly power, that would be offset by the presence and power of hospitals

 and their group purchasing organizations (GPOs). The evidence established that the GPOs act as

 a structural constraint on the ability of any individual supplier to charge non-competitive prices.

 9/17:12, 61, 71-76, 80-81, 88-89 (AM); 9/17:23-24, 45-46 (PM). By pitting suppliers against

 each other in competitive bidding contests, GPOs act as a heavy counterweight to any supplier’s

 ability (or threatened ability) to raise prices above competitive levels. 9/17:71-72, 73-81, 88-89

 (AM); 9/17:50-53 (PM). RTI presented no evidence to demonstrate that BD’s alleged false

 advertising and disparagement of RTI’s products impaired the GPOs’ buyer power, or their

 capacity to serve as yet another check against BD acquiring the power to control prices.

           C.     RTI Failed to Present Substantial Evidence Establishing that BD Had a
                  “Specific Intent” to Monopolize the Safety Syringe Market.

           Specific intent requires proof of more than just “a general intent to do the act” of which

 the defendant has been accused. Times-Picayune Pub. Co. v. United States, 345 U.S. 594, 626

 (1953).     Intent to “compete vigorously” is not an intent to monopolize because “vigorous

 competition is precisely what the antitrust laws are designed to foster.” Adjusters Replace-a-

 Car, Inc. v. Agency Rent-a-Car, Inc., 735 F.2d 884, 887 (5th Cir. 1984). Thus, the “mere

 intention of [a defendant] to exclude competition . . . is insufficient to establish specific intent to

 monopolize by some illegal means.” Blair Foods, Inc. v. Ranchers Cotton Oil, 610 F.2d 665,

 670 (9th Cir. 1980) (citation omitted).




                                                   22
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 32 of 61 PageID #: 26478



        As Areeda and Hovenkamp have explained, “there is at least one kind of intent that the

 proscribed ‘specific intent’ clearly cannot include: the mere intention to prevail over one’s

 rivals.” 3B Areeda & Hovenkamp, ¶ 805b (emphasis added). Therefore, RTI had to prove that

 BD had “a specific intent to destroy competition or build monopoly” in the safety syringe

 market.     Times-Picayune, 345 U.S. at 626 (emphasis added).         Specifically, “the forbidden

 specific intent is that of acquiring and exercising the power to fix prices or to exclude

 competition.” Adjusters, 735 F.2d at 887 (emphasis added) (internal quotation marks omitted).

        Even assuming that RTI had sufficient proof to establish that BD engaged in false

 advertising in violation of the Lanham Act, or that BD disparaged retractable syringes by

 marketing a bad one, there is no substantial evidence that BD took those actions with the specific

 intent to acquire the power to fix prices or exclude competition. The evidence shows no more

 than that BD intended to win business and “prevail over one’s rivals.” Specific intent cannot be

 inferred from BD’s alleged false advertising because “unfair” conduct “designed to take sales

 away from one’s rivals,” makes rational business sense without an intention to monopolize or

 destroy competition.     Sanderson, 415 F.3d at 623; see also Stearns, 170 F.3d at 523

 (exclusionary conduct generally “requires some sign that the monopolist engaged in behavior

 that -- examined without reference to its effects on competitors -- is economically irrational”).

        As for the patent infringement, the patent jury rejected RTI’s claim that BD’s conduct

 was willful. Michael Ex. S at 3.

        D.       Alternatively, the Court Should Grant a New Trial on Antitrust Liability.

        A new trial is appropriate when a jury verdict is contrary to the great weight of evidence.

 See, e.g., Cates v. Creamer, 431 F.3d 456, 460-61 (5th Cir. 2005). As explained, there is no

 substantial evidence to support the elements of attempted monopolization. But at the very least,

 given the evidence detailed above, the jury verdict is contrary to the great weight of the evidence.


                                                  23
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 33 of 61 PageID #: 26479



 BD is entitled to a new trial in which the attempted monopolization claim based on “deception”

 can be decided without the distraction of RTI’s failed claims regarding BD’s lawful contracts –

 and without the confusion caused by the inclusion of allegations that lack substantial evidence.

 See, e.g., Northeastern Tele. Co. v. AT&T Co., 651 F.2d 76, 96 (2d Cir. 1981) (reversing and

 remanding for a new trial in Sherman Act § 2 case “without resort to evidence of conduct that we

 have found not to have been anticompetitive”).

 II.    RTI Failed to Carry Its Burden of Proving Damages Caused by an Antitrust Injury.

        Even if the attempted monopolization finding were sound, it would not support the award

 of $113,508,014 in antitrust damages for “deception regarding safety syringes.” Doc. 577 at 4.

 That award is unrecoverable as a matter of law, for three principal reasons. First, there is no

 evidence that the claimed damages were an “antitrust injury.” Second, there is no evidence to

 establish that the claimed damages were caused by the conduct that forms the basis of the

 liability finding. Third, the damage model fails to disaggregate losses caused by anticompetitive

 conduct from losses caused by lawful conduct.

        A.      RTI Failed to Carry Its Burden of Proving an Antitrust Injury.

        RTI “may not recover damages under § 4 of the Clayton Act merely by showing ‘injury

 causally linked to an illegal presence in the market.’” Atl. Richfield Co. v. USA Petroleum. Co.,

 495 U.S. 328, 334 (1990) (quoting Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477,

 489 (1977)). It was RTI’s burden to prove “‘antitrust injury, which is to say injury of the type

 the antitrust laws were intended to prevent and that flows from that which makes defendants’

 acts unlawful.’” Id. (quoting Brunswick, 429 U.S. at 488) (second emphasis added).

        The Supreme Court has explained that to constitute an antitrust injury, the “injury should

 reflect the anticompetitive effect either of the violation or of anticompetitive acts made possible

 by the violation.” Brunswick, 429 U.S. at 488; accord Norris v. Hearst Trust, 500 F.3d 454, 465


                                                  24
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 34 of 61 PageID #: 26480



 (5th Cir. 2007). An “injury, although causally related to an antitrust violation, nevertheless will

 not qualify as antitrust injury unless it is attributable to an anti-competitive aspect of the practice

 under scrutiny . . . .” Atl. Richfield, 495 U.S. at 334 (emphasis added, internal quotation marks

 omitted); accord Norris, 500 F.3d at 465.

        Analysis of whether the plaintiff has suffered an antitrust injury is especially important in

 an “atypical antitrust case,” like this one, where the alleged anticompetitive conduct

 -- false advertising, disparagement, patent infringement -- “is still competition,” Nw. Power, 576

 F.2d at 88, and generally harms only an individual competitor, not competition itself. Doctor’s

 Hosp. of Jefferson, Inc. v. Se. Med. Alliance, Inc., 123 F.3d 301, 306 (5th Cir. 1997).

                1.      RTI Failed to Prove that It Suffered Any Injury “Attributable to an
                        Anti-Competitive Aspect” of BD’s Conduct.

        RTI could not, and did not, demonstrate an antitrust injury by trying to prove the sales it

 lost as a result of BD’s alleged false advertising or disparagement/tainting. That might suffice

 for a tort claim, but not to establish antitrust standing. See Doctor’s Hospital, 123 F.3d at 305.

        To try to show that RTI suffered an injury “attributable to an anti-competitive aspect” of

 BD’s conduct, Atl. Richfield, 495 U.S. at 334, RTI’s economics expert, Einer Elhauge, theorized

 that deceptive conduct “harms competitors” by causing them to lose sales, resulting in “less

 market share.” 9/11:121 (PM). Yet, recognizing that lost sales by one competitor is not enough

 to constitute antitrust injury, Elhauge pinpointed the anticompetitive aspect of BD’s conduct as

 the tendency to lead to increased prices marketwide. 9/11:121-22 (PM); 9/18:77-78 (PM Part I).

 By raising rivals’ costs, Elhauge explained, deception can weaken their ability to serve as a

 competitive check on monopoly power and increase prices marketwide: “The competitors are

 going to have higher costs, so they’re not going to be able to inflict as great a price constraint on

 the firm with monopoly power.” 9/11:121-22 (PM).



                                                   25
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 35 of 61 PageID #: 26481



         That is RTI’s theory of antitrust injury. But it is only a theory. Neither Elhauge nor any

 other witness provided any evidence or economic analysis to show that BD’s alleged false

 advertising and disparagement actually resulted in, or threatened to result in, higher marketwide

 prices or costs for safety syringes.12

         Likewise, RTI did not present any evidence that BD’s conduct resulted in any lost sales

 or lower market share that caused RTI to have higher costs. There is no evidence that RTI’s

 costs were any higher than they would have been absent BD’s alleged false advertising and

 disparagement. The evidence shows the opposite. RTI’s average incremental cost for the last

 several years has been around 13 cents, 9/18:135-36 (AM), enabling RTI (if it chose to) to

 charge lower and more competitive prices. 9/16:78, 167 (AM); 9/17:58-62, 112-118 (AM);

 Michael Exs. E-H; DX1661; DX2155; see also 9/16:146-147, 153-154 (AM). It is undisputed

 that RTI can acquire VanishPoint syringes from an overseas manufacturer at a “fixed” cost of

 around 10 cents per syringe. 9/16:167 (AM); 9/18:135-36 (AM). Yet, RTI chose to price its

 products far above the prices of its competitors in the safety syringe market -- 31 cents in 2010,

 versus competitors’ prices that ranged from 21 to 23 cents on average. 9/17:58-61, 112-18

 (AM); Michael Exs. E-H; DX1661; DX2153; DX2155.

         There is no evidence that, in the absence of BD’s alleged false advertisements or

 disparagement, RTI’s average incremental cost per syringe would be lower than 13 cents or that

 RTI would be able to acquire syringes at a cost of less than 10 cents per syringe. To the extent

 that RTI did have fewer sales because of its choice to charge a higher price, that is not an injury

 “attributable to an anticompetitive aspect” of BD’s conduct. Atl. Richfield, 495 U.S. at 334.
 12
    Even if such evidence had been presented, it could not, on its own, establish antitrust injury because
 higher market prices “would have worked to [RTI’s] advantage,” not to its detriment. Atl. Richfield, 495
 U.S. at 336; see also Matsushita, 475 U.S. at 583-84 (holding that a conspiracy to charge higher prices
 “would indeed violate the Sherman Act, but it could not injure respondents: as petitioners’ competitors,
 respondents stand to gain from any conspiracy to raise the market price”).


                                                    26
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 36 of 61 PageID #: 26482



                2.      The Damage Model Does Not Substitute for Proof of Antitrust Injury.

        The “deception damages” model presented by RTI’s expert, Robert Maness, does not

 supply the missing proof of antitrust injury. Maness did not even try to identify or measure any

 damages flowing from any “anti-competitive aspect” of BD’s “deceptive” conduct. Instead,

 Maness purported to calculate all the profits RTI lost as a result of false advertising and

 disparagement -- i.e., he calculated what might be Lanham Act damages, if his methodology

 were not totally invalid. 9/12:119-24, 179-85 (PM); 9/18:122-35 (PM). His damages model

 assumes that without BD’s alleged deception, RTI would face no competition from Integra (or

 other products) in the retractable syringe segment. See 9/12:121 (PM). In other words, in

 Maness’s “but for” world, there is less competition, not more. That is not a measure of antitrust

 injury. See Brunswick, 429 U.S. at 488 (“The damages respondents obtained are designed to

 provide them with the profits they would have realized had competition been reduced. . . . It is

 inimical to the purposes of these laws to award damages for the type of injury claimed here.”).

        Nothing Maness did was intended to prove an injury caused by the anticompetitive

 effects theorized by Elhauge -- that is, the tendency to raise rivals’ costs and thereby raise market

 prices. Maness constructed a damages model which assumed that RTI’s price, as well as its

 costs, would remain exactly the same absent BD’s conduct. 9/18:83-88 (AM); 9/12:100-104,

 122-123 (PM). In Maness’s model, RTI would have made significantly more sales at its current

 price. 9/12:100-102, 122-23 (PM). But if that were to occur, then marketwide prices for safety

 syringes would be higher, not lower, in the “but for” world. He assumed that consumers would

 move from BD’s lower-priced products (averaging 22 cents each as of 2010), to RTI’s higher-

 priced products (31 cents each as of 2010). See Michael Ex. E.

        What Maness demonstrated, at most, is that but for BD’s conduct, RTI would have

 benefited from consumers paying higher overall prices in the market than they would have if


                                                  27
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 37 of 61 PageID #: 26483



 BD’s conduct had persisted. He did not prove, or even attempt to prove, that RTI suffered harm

 as a result of higher marketwide prices or costs. Because RTI failed to present substantial proof

 of antitrust injury, its Sherman Act §2 claim fails as a matter of law.

        B.      There Is No Evidence of Causation to Support the “Deception Damages.”

        There is no evidence that the $113 million award for “deception damages” can be

 causally linked to BD’s challenged conduct.           RTI offered two theories of anticompetitive

 conduct and antitrust damages at trial: contract-based theories and deception theories. E.g.,

 9/18:102 (AM). The jury did not award any “anticompetitive contracting damages.” Doc. 577 at

 4. Thus, the testimony related to the contract-based damages cannot support the damages award.

        Maness purported to quantify $113 million in lost profits, which he assumed were caused

 by BD’s alleged “deception.” See 9/12:119-24, 179-85 (PM); 9/18:122-35 (AM). But no

 evidence supports that assumption.

        It is unnecessary to dwell on the allegations about patent infringement and “tainting.”

 Neither Maness nor Elhauge said a word about patent infringement. Likewise, Elhauge said

 nothing about the allegation of “tainting” the safety syringe market with inferior products.

 Maness said nothing about the tainting claim in RTI’s case-in-chief, 9/12:119-24, 179-85 (PM),

 and even in rebuttal, he testified only that such conduct “could” cause lost sales -- but not that it

 actually did so in this case. 9/18:127-30 (AM). And he made no effort to identify any data or

 other evidence in this case that would support such a conclusion. Id.

        Expert testimony about causation is legally insufficient unless the expert testifies that a

 causal connection is “more likely than not”; testimony that a given fact “could” cause harm is not

 enough. See, e.g., Pipitone v. Biomatrix, Inc., 288 F.3d 239, 245 (5th Cir. 2002); Daubert v.

 Merrell Dow Pharm., Inc., 43 F.3d 1311, 1322 (9th Cir. 1995); Henry v. Bridgestone/Firestone

 Inc., 63 F.App’x 953, 958 (7th Cir. 2003). “When an expert opinion is not supported by


                                                  28
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 38 of 61 PageID #: 26484



 sufficient facts to validate it in the eyes of the law,” the Supreme Court has emphasized in the

 antitrust context, “it cannot support a jury’s verdict.” Brooke Group, 509 U.S. at 242.

        RTI offered no substantial evidence to demonstrate that it actually lost sales due to BD’s

 advertising, much less $113 million in profits. RTI did not call a single witness from a hospital,

 GPO, or other purchasing organization who testified that purchases were affected by BD’s

 advertising. RTI did not call a single salesperson from its own sales force who testified that its

 sales had been affected by BD’s advertising. Even Carol Scott, RTI’s expert on these issues,

 offered no data proving that BD’s advertising affected purchasing. See supra at 11. The

 evidence introduced at trial conclusively negated any inference of causation. See supra at 10-16.

        Given this lack of supporting data, Maness’s conclusory statements about causation are

 unsupported speculation. 9/12:119-24, 179-85 (PM); 9/18:122-35 (AM). He could not identify

 any hard evidence to support his causation opinions. Id. Again, conclusory assertions by experts

 are entitled to no weight -- especially in antitrust cases. Brooke Group, 509 U.S. at 242.

 Antitrust causation “may not be based on speculation. Rather, the required causal link must be

 proved as a matter of fact and with a fair degree of certainty.” State of Alabama v. Blue Bird

 Body Co., Inc., 573 F.2d 309, 317 (5th Cir. 1978) (emphasis added).

        Lacking direct evidence to establish that BD’s “deceptive” conduct caused it any injury,

 RTI may try to suggest that Maness’s “benchmark” or “yardstick” calculation of damages (which

 compared the safety syringe market to the I.V. catheter market) could constitute circumstantial

 evidence of causation. But that approach would confuse the fact of damage with the amount.

 Under Fifth Circuit precedent, “[a] plaintiff must first prove the fact of antitrust damages, some

 ‘element of actual damages caused by the defendant’s violation of the antitrust laws.’” Eleven

 Line, Inc v. North Texas State Soccer Ass’n, 213 F.3d 198, 206-07 (5th Cir. 2000) (citation

 omitted).   “If he does so, a more relaxed burden of proof obtains for the amount of

                                                 29
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 39 of 61 PageID #: 26485



 damages . . . .”        Id.    Yardstick analysis is a “common method[] of quantifying antitrust

 damages,” id., but not a substitute for substantial evidence of the fact of damages (i.e.,

 causation). See id.13 There is no evidence that BD’s alleged “deception” caused any lost profits.

         C.         The Failure to Disaggregate Is Fatal to the “Deception Damages.”

         Maness also failed to exclude from his damages model those sales RTI lost due to causes

 other than BD’s alleged false advertising or disparagement. This aspect of antitrust causation

 analysis is called “disaggregation,” and it was properly included in the Court’s jury instructions.

 Maness admitted that his damage model had to determine sales that were lost “only because of

 the deception, not for any other reason.” 9/12:127-128 (PM) (“Correct.”). Nonetheless, that is

 not what he did, which is fatal to the $113 million damage award.

                    1.         RTI Had a Burden to Disaggregate Its Damage Model.

         The disaggregation requirement is rooted in the antitrust injury doctrine, which holds that

 “a plaintiff can recover only if the loss stems from a competition-reducing aspect or effect of the

 defendant’s behavior.” Atl. Richfield, 495 U.S. at 344. Thus, an antitrust plaintiff “must show

 that its damages were caused by the particular conduct” found to be an antitrust violation.

 Taylor, 216 F.3d at 484 (citing Atl. Richfield); see El Aguila Food Prods., Inc. v. Gruma Corp.,

 131 F.App’x 450, 454 (5th Cir. 2005); see also MCI Commc’ns v. Am. Tel. & Tel. Co., 708 F.2d

 1081, 1162 (7th Cir. 1983) (explaining the antitrust disaggregation requirement).

                    2.         RTI Failed to Disaggregate Its Damage Model.

         Maness testified that his model of deception damages aimed to quantify “sales that were

 lost only because of the deception, not for any other reason.” 9/12:127-128 (PM) (emphasis

 added). Maness admitted, however, that the alleged deception is “[n]ot the only” explanation for

 13
    See El Aguila, 131 F.App’x at 453-54 (analyzing yardstick analysis for amount of antitrust damages
 separately from fact of causation); Bell Atl. Corp. v. AT&T Corp., 339 F.3d 294, 302 (5th Cir. 2003)
 (distinguishing between “causation, or ‘fact of damage,’” and the amount); Blue Bird, 573 F.2d at 317
 (“The term ‘fact of damage’ can be likened to the causation element . . . .”).

                                                     30
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 40 of 61 PageID #: 26486



 the lost profits he computed. 9/12:184-85 (PM). He asserted that the lost profits were “largely”

 due to deception, but presented no evidence to quantify what portion of the $113 million

 damages is, and is not, due to deception. Id. Because he admitted that the entirety of the award

 is not attributable to deception, the award of that amount is indefensible.

        Moreover, there are at least three disaggregation defects that are also fatal to the award:

        First, BD’s advertising of three different safety products was included by Maness as a

 presumed cause of the “deception” damages. 9/12:180 (PM); 9/18:123-27 (AM). But this Court

 ruled there was not sufficient evidence that BD’s “safety” claims regarding those products

 constituted false advertising. 9/18:25-26 (PM Part II).         Failure to disaggregate any losses

 attributable to this lawful advertising is fatal. When a plaintiff has multiple antitrust claims and a

 court rejects some of them as a matter of law, the plaintiff is obliged to “establish a tighter

 connection between the behavior and the damages.” Taylor, 216 F.3d at 485.

        Second, the same disaggregation problem invalidates the damages allegedly caused by

 BD’s advertising regarding waste space and needle sharpness.            9/12:120-21, 180-82 (PM);

 9/18:123-27 (AM). Numerous aspects of the challenged brochures and websites were truthful.

 The centerpiece and main message of the Integra promotional materials was not proven to be

 false: namely, that the Integra syringe has lower waste space than any other syringe (true) and

 enables users to get 11 doses out of a 10-dose vial (also true). 9/16:156-160 (PM). Even though

 that “medication savings” claim was true, Maness did not disaggregate the sales RTI supposedly

 lost as a result of that lawful advertising claim from those (if any) lost due to the outdated data

 about RTI’s waste space. See, e.g., Taylor, 216 F.3d at 485; El Aguila, 131 F.App’x at 454.

        Third, Maness purported to include the anticompetitive effects of “tainting” in his

 damage model, but he offered no evidence of causation -- i.e., what sales were, in fact, lost due

 to this supposed disparagement. He speculated that marketing an inferior product could cause

                                                  31
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 41 of 61 PageID #: 26487



 consumer confusion and “could lead to a reduction in RTI sales.” 9/18:127-28 (AM) (emphasis

 added), yet he did no quantitative analysis and offered no economic evidence to prove that BD’s

 conduct did reduce RTI’s sales. See supra at 28. Then, having failed to prove what, if any,

 portion of the damages amount was based on “tainting,” Maness erroneously failed to

 disaggregate the effect of BD’s lawful marketing of a competitive product. See, e.g., Taylor, 216

 F.3d at 485; El Aguila, 131 F.App’x at 454.

 III.   The Evidence Does Not Support $113 Million in “Deception” Damages.

        The “yardstick” or “benchmark” approach used by RTI to compute damages is not

 supported by sufficient evidence and, therefore, the damages judgment cannot be sustained.

 Eleven Line, 213 F.3d 198. RTI failed to prove the “comparability” of the two markets (I.V.

 catheters and safety syringes) and the two businesses (BD’s catheter business and RTI’s safety

 syringe business). RTI merely assumed, without evidence, that those markets and businesses are

 similar. “Damage assumptions that find no support in the actual facts of the case cannot support

 a verdict.” Id. at 209.

        A.      RTI Had the Burden to Prove that Its Benchmark Was “Closely
                Comparable” and as “Nearly Identical” as Possible.

        RTI’s damages expert, Maness, did not calculate real lost profits due to BD’s advertising.

 9/12:180 (PM). Rather, he used what he claimed to be a benchmark: He compared sales of

 “retractable catheters” in the I.V. catheter market (namely, BD’s Autoguard catheter) to sales of

 “retractable syringes” in the safety syringe market. 9/12:120-24 (PM). Assuming that the only

 difference was BD’s “deceptive” conduct, Maness opined that retractable syringes should have

 the same share of the safety syringe market that retractable catheters do of the catheter market --

 i.e., they “should be about half of the safety syringe market.” 9/12:121 (PM).




                                                 32
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 42 of 61 PageID #: 26488



        Unsubstantiated assumptions of comparability will not suffice to award damages based

 on a benchmark. “An antitrust plaintiff who uses a yardstick method of determining lost profits

 bears the burden to demonstrate the reasonable similarity” of the businesses being compared.

 Eleven Line, 213 F.3d at 208. Specifically, the business used as the benchmark must be “closely

 comparable” and “as nearly identical to the plaintiff’s as possible” Lehrman v. Gulf Oil Corp.,

 500 F.2d 659, 667 (5th Cir. 1974). Failure to prove the yardstick is “as nearly identical” as

 possible requires reversal of a jury verdict. Eleven Line, 213 F.3d at 209 (quotation omitted).

        The reason for the “nearly identical” standard is that the Fifth Circuit has “rejected claims

 where the plaintiff’s proposed method of calculating [antitrust] damages failed to reasonably

 approximate actual economic losses.” Bell Atl. Corp. v. AT&T Corp., 339 F.3d 294, 303 (5th

 Cir. 2003). That is the fatal legal defect in RTI’s damages calculation. It is not based on RTI’s

 actual losses. And neither Maness nor any other RTI witness even purported to prove that the

 I.V. catheter market is a reliable benchmark -- i.e., that but for BD’s conduct, the safety syringe

 market would perform just like the I.V. catheter market, and a syringe with a retracting needle

 would have the same success as a catheter with a retracting needle. As shown below, that

 simplistic assumption is not based on any evidence and, in fact, is contradicted by the medical

 and economic evidence: the two markets involve very different medical devices, used for

 different medical procedures, made by different competitors, using different designs and

 technologies, competing at different price points, and serving a different mix of customers and

 clinical needs. See 9/18:66-69 (AM).

        It was just such a failure to prove comparability that required reversal in Eleven Line, 213

 F.3d at 208-09; see also El Aguila, 131 F.App’x at 453-54 (expert testimony that fails to provide

 a proper yardstick is no evidence of antitrust damages). The “yardstick method” used in Eleven

 Line was rejected by the Fifth Circuit because, although the plaintiff computed damages for one

                                                 33
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 43 of 61 PageID #: 26489



 of its sports facilities based on the profitability of its other sports facilities, “[n]o evidence was

 offered of the geographical location, size or attractiveness of those facilities, the size and type of

 the [relevant] market that they served, the relative cost of the operation, the amounts charged per

 team, or the number of seasons run.” 213 F.3d at 208. Without such evidence of comparability,

 even a comparison between the same businesses run by the same owner is insufficient. Here,

 RTI used different products in different markets, and presented no evidence of comparability.14

         B.      RTI Failed to Meet Its Burden of Proving a Valid Benchmark.

         RTI did not present any witness, expert or fact, to try to prove that the I.V. catheter and

 safety syringe markets are comparable or that a retracting needle would have the same adoption

 rate in the two markets. Maness himself has no relevant expertise or experience in either market,

 and did not purport to have conducted any study, of any kind, to demonstrate that the medical,

 economic, competitive, or product design dynamics of the two markets are substantially similar,

 much less “nearly identical.”          9/12:86-87, 120-22, 182-84 (PM); 9/18:121-23 (AM).

 Assumptions and estimates cannot be used to determine damages unless they “rest on adequate

 data.” Eleven Line, 213 F.3d at 207; Lehrman, 500 F.2d at 668. Maness had no expertise and no

 data to support his assumption of comparability. His opinion was a bare conclusion unsupported

 by either expertise or data. Therefore, it is no evidence. See Brooke Group, 509 U.S. at 242;

 Eleven Line, 213 F.3d at 207-09.

         Maness conceded that the only “characteristics that I’m concerned about are retraction,

 risk of needlestick, right, and -- lack of disparaging statement.” 9/12:181-82 (PM); see also id. at

 120-21, 184. In other words, he asked only two questions: Do the markets involve products

 with needles on them, and do some of those have a retraction feature? He ignored the clinical
 14
    For the reasons stated in BD’s motion to exclude the Maness testimony, his yardstick analysis was
 unreliable and should have been excluded in any event, so it is insufficient. Doc. 373; see also Weisgram,
 528 U.S. at 454-57.


                                                    34
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 44 of 61 PageID #: 26490



 uses and limitations of the products, patient needs, clinician preferences, prices, the businesses

 that make the products, the competitors they face, the other competitive safety technologies

 available in the different markets, and the clinical and economic reasons why the BD Autoguard

 is more commercially successful in the catheter market than the RTI syringe is in the safety

 syringe market. See 9/10:125-27 (PM); 9/16:83-91(PM). Maness disregarded all those other

 factors, admitting that he did not control for any potential differences between the markets other

 than BD’s advertising. See 9/12:120-21, 181-84 (PM).

        RTI offered no evidence through any witness to support Maness’ baseless assumption.

 Even though John Ledek, the former head of BD’s catheter business, testified during RTI’s case

 that the I.V. catheter and syringe markets are totally different, RTI did not call any witness or

 offer any evidence to prove otherwise. Indeed, the only economic evidence developed by RTI

 proved that I.V. catheters and safety syringe are different product markets for antitrust purposes.

 See 9/11:14 (AM).

        C.      The Evidence Proved that the Markets and Businesses Maness Compared
                Are Not Nearly Identical or Closely Comparable.

        The testimony from John Ledek and Dr. Carl Vartian, and the economic evidence from

 Kevin Murphy and Robert Sherwin, proved that Maness was comparing very different products,

 used in very different markets, marketed by very different businesses.

                1.     The Products Are Significantly Different, Not Comparable.

        Maness did not compare the performance of two similar businesses in the same market

 making the same product, which is the conventional benchmark approach. See, e.g., Bus. Elecs.

 Corp. v. Sharp Elecs. Corp., 780 F.2d 1212, 1220 (5th Cir. 1986). Instead, he compared the

 performance of two completely different products in two completely different markets.




                                                 35
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 45 of 61 PageID #: 26491



        Maness admitted that I.V. catheters and safety syringes have very different materials and

 features, and “[t]hey’re used for different purposes.” 9/12:181-82 (PM). The products, he

 conceded, are different and not interchangeable. 9/12:182 (PM); see also 9/18:66-68 (AM). As

 Mr. Ledek testified, a “syringe is a completely different product than a catheter” and cannot be

 used to perform the sole function of the Autoguard, to “insert a catheter into a vein.” 9/10:125-

 127 (PM). Conversely, a catheter cannot be used “to perform the type of procedures that you do

 with syringes like blood-drawing, biopsies or intramuscular injections.” 9/10:126 (PM).

        Further, the evidence undermines the central premise of Maness’s yardstick calculation:

 since the “retracting” needle of the Autoguard catheter is what accounts for its success, Maness

 just assumed, the “retracting” RTI syringe would have achieved the same success in the absence

 of BD’s false advertising. In truth, the evidence shows that the success of the Autoguard is due

 to myriad other catheter-related features, and the limited success of RTI is due to other syringe-

 related features, thereby rendering any un-controlled comparison between the two meaningless.

        As the Fifth Circuit held in Eleven Line, the failure to submit or consider evidence of the

 “attractiveness” of the supposed comparable business, is grounds for rejecting a benchmark

 damages verdict. 213 F.3d at 208. Maness made that very mistake by disregarding the evidence:

       The Autoguard can be used for 100% of peripheral I.V. catheter procedures, whereas the
        RTI syringe can only be used for some syringe procedures. 9/16:93-96, 99, 102, 104, 106
        (PM). It follows, as a matter of medical practice, that BD’s retracting catheter would do
        better (in the catheter market) than RTI’s retracting syringe would do (in the safety
        syringe market). 9/18:68 (AM). Therefore, Maness’ assumption that the products should
        have the same level of penetration in their respective markets is scientifically unsound
        and contradicted by the evidence.

       The success of the Autoguard catheter is due to numerous product benefits having
        nothing to do with needle retraction, e.g., the proprietary Vialon catheter material, patient
        in-dwelling time, ease of insertion, the “Instaflash” feature, and the “push button” safety
        mechanism. 9/10:118-20, 122-25 (PM). Maness ignored all these design, clinical, and
        performance factors that explain Autoguard’s popularity. 9/18:65-66 (AM).




                                                 36
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 46 of 61 PageID #: 26492



       The “attractiveness” of Autoguard to nurses and doctors is not merely that it has a
        “retracting” needle, but that it has a “push button” activation mechanism. 9/10:123-25
        (PM). As Mr. Ledek testified, the location of the Autoguard’s activation button near the
        clinician’s hand, allows for ease activation and provides a desirable measure of control
        during an already-complicated medical procedure. Id.

        In sum, I.V. catheters and safety syringes are not “closely comparable” or “nearly

 identical,” and thus cannot be used to reasonably approximate RTI’s economic loss. Bell Atl.,

 339 F.2d at 303.

                2.     The Markets Are Significantly Different, Not Comparable.

        Another ground for reversing the benchmark damages in Eleven Line was the failure to

 prove the “size and type of the [relevant] market[s]” being compared. 213 F.3d at 208. Here,

 Maness failed to present such evidence, and gave no heed to the evidence that the I.V. catheter

 and safety syringe markets are not comparable at all:

       The two markets involve different competitors, which Maness admitted. 9/12:183 (PM).
        B. Braun, the aggressive price competitor in the catheter market, 9/10:137 (PM), does not
        even make a syringe. Covidien, the largest competitive threat to BD in the safety syringe
        market and the number one seller of sliding sheath safety syringes, 9/17:49-51 (AM),
        does not compete at all in the catheter market.

       The two markets have different customer bases. Catheters are used primarily in
        hospitals, while retractable safety syringes are sold largely to non-hospitals: flu clinics,
        doctors offices, and retail pharmacies. 9/18:67 (AM); see also 9/17:67-68 (AM).

       The two markets involve different safety technologies. In other words, the BD retracting
        catheter competes against a totally different array of competitive safety designs (e.g.,
        passive and closed systems) than does the RTI retracting syringe (e.g., sliding sheaths).
        9/17:53-54 (AM); 9/10:135-40 (PM); 9/12:182 (PM); 9/16:32 (PM); Michael Exs. R, U.

        Thus, the retracting catheter and the retracting syringe face very different competitive

 forces and different competitive threats. In addition, Maness paid no attention to the impact of

 the prices for competing products in the two markets. The RTI syringe is priced 35% to 140%

 higher than the non-retractable competitive alternatives -- which in large part explains why the

 retractable segment is a relatively small part of the safety syringe market. 9/17:58-61 (AM);



                                                37
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 47 of 61 PageID #: 26493



 Michael Ex. F-H; DX1661; DX2153; DX2155; 9/18:68 (AM). RTI presented no evidence to

 show that any comparable gap in pricing exists between retractable and non-retractable I.V.

 catheters, and the only evidence that is in the record shows that the two markets are not

 comparable in this regard. 9/18:68 (AM).

        In Eleven Line, the Fifth Circuit found that the failure to consider differences in “relative

 costs” and differences in the “amounts charged” warranted reversal. 213 F.3d at 208. Maness

 admitted that the relative “range of prices” for competing I.V. catheter products differs from the

 relative “range of prices” for safety syringes, 9/12:183 (PM), but he did nothing to control for

 that major variable. That is directly contrary to the leading authority on antitrust law: when a

 comparison is made between two markets, “[t]he expert makes suitable adjustments for any cost

 differentials between the two markets and then compares prices in the litigation market with

 those in the yardstick market.” Herbert Hovenkamp, ed., 5 MOD. SCI. EVID. § 46:8 (2012-2013

 ed.) (emphasis added).

                3.     The Businesses Are Significantly Different, Not Comparable.

        Under a conventional yardstick analysis, the plaintiff’s damages expert would compare

 the plaintiff’s business to a comparable business in the same market that is not affected by the

 anticompetitive conduct -- i.e., a business that is “as nearly identical to the plaintiff’s as

 possible.” See Lehrman, 500 F.2d at 667; see also John J. Miles, 1 Health Care and Antitrust L.

 § 9:8 (2013) (citing cases). Maness, however, did nothing to show that BD’s catheter business is

 closely comparable to RTI’s safety syringe business. The evidence shows that they are not

 comparable businesses -- and for reasons that explain why the BD Autoguard is more successful

 than RTI’s syringe:

           BD’s business invented the modern I.V. catheter in the 1950’s.

           BD invented the current generation of catheter material.


                                                 38
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 48 of 61 PageID #: 26494



               BD introduced its first safety catheter in 1993.

               BD sells Autoguard as part of a portfolio of five different safety catheters.

 9/10:118-21, 135 (PM); Michael Ex. T.

           RTI, by contrast and by its own account, is a relatively recent market entrant, has no

 history or heritage in the medical device industry, and sells only one type of safety syringe. RTI

 also claims that it does not have the market advantages that come with BD’s longevity in the

 industry, financial performance, and diversity of product offerings.             With or without the

 pejorative spin RTI puts on those market realities, no legally valid assessment of damages could

 be based on an uncontrolled comparison of such different businesses. Eleven Line held that even

 a comparison among firms in the same business and owned by the same owner was invalid. 213

 F.3d at 208. RTI’s benchmark is much worse.

           D.      Alternatively, the Court Should Grant a New Trial or Suggest a Remittitur.

           If the Court declines to enter judgment as a matter of law on antitrust causation and

 damages, it should grant a new trial on damages or suggest a substantial remittitur.

           At the very least, the evidence supporting the jury’s finding of causation and the $113

 million damage award is contrary to the great weight of the evidence. See supra at 1. If

 necessary, therefore, the Court should order a new trial on “deception damages” unaffected by

 the distractions of RTI’s complaints about BD’s lawful contracts and its contract-based damage

 claims.

           Alternatively, the Court should suggest a remittitur because the damages are excessive.

 Juries may not award damages greater than the maximum amount supported by the evidence.

 See, e.g., Brunnemann v. Terra Intern., Inc., 975 F.2d 175, 178 (5th Cir. 1992); Treadaway v.

 Societe Anonyme Louis-Dreyfus, 894 F.2d 161, 169 (5th Cir. 1990). The Court could suggest a

 remittitur based on the defects in Maness’s damage model -- such as its failure to disaggregate


                                                     39
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 49 of 61 PageID #: 26495



 alternative causes of loss and the unreliability of its comparison between the I.V. catheter market

 and the safety syringe market.

        But there is a more reliable basis to suggest a remittitur. The trial record contains

 evidence on the cost of corrective advertising, which would be an appropriate remedy for the sort

 of antitrust injury theorized by Elhauge. See 9/11:122 (AM). Scott testified that $10 million

 would allow RTI to “correct the impressions” created by BD’s advertising going forward.

 9/12:78-79 (PM). This is the only testimony from an RTI witness that even purports to estimate

 damages based on a potential antitrust injury and that is not afflicted by the flaws that invalidate

 the “deception damages” model.15 Accordingly, the Court should suggest a remittitur to $10

 million or, alternatively, order a new trial on damages.

 IV.    Res Judicata Bars the Lanham Act Claims and the Related Antitrust Claims.

        The jury found BD liable under the Lanham Act for four categories of false advertising:

 (1) waste space claims; (2) waste space “data on file” claims; (3) world’s sharpest needle claims;

 and (4) world’s sharpest needle “data on file” claims. Doc. 577 at 5. These claims, as well as

 the antitrust claims based on BD’s alleged deception, are barred by res judicata.

        The evidence at trial established that all the challenged advertising statements were made

 by BD before the July 2, 2004 dismissal of the parties’ prior lawsuit. DX6003. Because RTI

 actually sued (or could have sued) BD about all those product misrepresentations in the prior

 suit, including the “safety” claims, it is precluded from doing so in this case. Oreck Direct, LLC

 v. Dyson, Inc., 560 F.3d 398, 404 (5th Cir. 2009). Every element of res judicata is established,

 as a matter of law, under the analysis of Oreck.




 15
    BD’s damages expert, Robert Sherwin, calculated that RTI’s deception damages could be no greater
 than $7.21 million. 9/18:80-82 (AM).

                                                    40
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 50 of 61 PageID #: 26496



        The facts of Oreck are indistinguishable from the present case. Oreck initially sued

 Dyson in 2005, alleging that Dyson made false advertising claims, inter alia, that “its vacuum

 cleaners do not lose suction.” Oreck, 560 F.3d at 400. The parties settled and the district court

 dismissed the lawsuit with prejudice. Id. Oreck later filed a second suit against Dyson, asserting

 again that Dyson’s claims that its DC18 model had “no loss of suction” were false advertising.

 Id. In addition, Oreck challenged Dyson’s claim that the DC18 model was the “most powerful

 lightweight” vacuum. Id. The district court granted summary judgment on both claims on the

 basis of res judicata, id., and the Fifth Circuit affirmed: A second lawsuit based on the post-

 dismissal use of pre-dismissal advertising statements is barred.

        “Under res judicata, a final judgment on the merits of an action precludes the parties or

 their privies from relitigating issues that were or could have been raised in that action.” Id. at 401

 (citation omitted) (emphasis added). Under the transactional test, res judicata requires only that

 the two actions be based on the “same nucleus of operative facts.”             Id. at 401-02.    The

 transactional test asks “whether the facts are related in time, space, origin, or motivation;

 whether they form a convenient trial unit; and whether their treatment as a unit conforms to the

 parties’ expectations or business understanding or usage.” Id. at 402; see Restatement (Second)

 of Judgments 524(2). “[A] prior judgment’s preclusive effect extends to all rights of the plaintiff

 ‘with respect to all or any part of the transaction or series of connected transactions, out of which

 the [original] transaction arose.’” Id. at 402 (citation omitted).

        Oreck argued that its Lanham Act claims in the second suit were not barred because the

 particular advertisements in the second suit were not “the same as those involved in” the first

 suit. Id. at 403. The Fifth Circuit found “no merit in Oreck’s contention.” Id. at 403-04. The

 court’s reasoning is dispositive here: The challenged advertising statements “were being used by

 Dyson during” the first lawsuit to promote its products. Id. at 404. For this reason, the Court

                                                   41
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 51 of 61 PageID #: 26497



 concluded that the claims asserted in the second lawsuit all arose “from the same series of

 transactions.” Id. Therefore, “these claims are barred by res judicata.” Id.

        Under Oreck, the dispositive issue is whether the advertising statements challenged in

 this lawsuit were being used by BD during (or before) the first lawsuit. Id. at 404. Now that the

 case has been tried and all the facts have been established, it is beyond dispute that the

 advertising statements at issue here all were being used by BD during or before the prior lawsuit.

 Indeed, RTI’s own expert based her waste space study on a BD brochure from 2002 or 2003.

 9/12:81 (PM). RTI’s Lanham Act claims based on those advertising statements were brought,

 and certainly “could have been brought,” in the first suit.

        BD has used the “World’s Sharpest Needle” claim in its advertising since at least 1991,

  DX0009 at 2-5, and used the claim in marketing materials long before July 2004. Id. at 8-20,

 17, 27-32; DX3720 at 52-58; DX3932; DX3933; DX6005; PX576 at 40-42, 278-287, 281-82.

 As for the waste space claims, BD began using advertisements comparing the waste space of its

 Integra and RTI’s VanishPoint syringes when it launched the Integra in 2002. See 9/18:3-13

 (PM Part II); DX0009 at 6-7, 8-20, 27-32; DX3932; DX3933; DX3720 at 52-58; DX6005;

 DX6006; PX576 at 253-55, 278-87, 280-83. BD’s “safety” product claims have been used since

 the late 1980’s and the 1990’s. Doc. 178 at 8.

        RTI learned of BD’s advertising claims no later than 2002. DX6005; DX0009 at 27-

 32; 9/18:3-13 (PM Part II). 16 In fact, in 2001, RTI had sued BD in Case No. 5:01-cv-036-DF,

 asserting antitrust claims and disparagement claims based on alleged product misrepresentations.

 See DX6004 ¶¶ 45, 46, 50. After three years, that litigation settled and Judge Folsom entered a


 16
     These same facts establish the equitable defense of laches, which BD presented in its proposed
 findings of fact and conclusions of law (Doc. 539-1) and will reassert in response to any request by
 Retractable for equitable relief. See Abraham v. Alpha Chi Omega, 708 F.3d 614, 626 (5th Cir. 2013);
 PBM Products, LLC v. Mead Johnson & Co., 639 F.3d 111, 121 (4th Cir. 2011).

                                                  42
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 52 of 61 PageID #: 26498



 consent judgment dismissing all claims with prejudice on July 2, 2004. DX6003. Under Oreck,

 that judgment bars the claims in this case under the principle of res judicata.

         In his ruling on BD’s summary judgment motion, Judge Payne agreed that Oreck could

 “certainly be read expansively to reach the instant case.” Doc. 415 at 5. But he read it narrowly,

 reasoning that Oreck did not apply to claims “‘based on conduct transpiring only after the earlier

 litigation had concluded.’” Id. (emphasis added). This Court agreed, giving RTI a chance to

 prove its case under that interpretation. Doc. 499 at 1-2. Now that the trial is concluded, it is

 conclusively established that RTI’s claims are not “‘based on conduct transpiring only after the

 earlier litigation had concluded.’” Id. at 1 (emphasis added). Instead, there is conclusive proof

 that the advertising statements all originated prior to July 2004 -- i.e, none of the allegedly

 deceptive conduct transpired “only after” the dismissal of the first action. Since in Oreck all the

 “advertisements were being used by Dyson during” the first Oreck case, the second case was

 foreclosed. Id. at 404. The same is true here.

         Because the transactional test focuses on the claims that “could have been brought,” the

 “legal theories advanced, forms of relief requested, [or] types of rights asserted” in the prior

 litigation do not matter. United States v. Davenport, 484 F.3d 321, 327 (5th Cir. 2007). “‘The

 effect of a judgment extends to the litigation of all issues relevant to the same claim between the

 parties, whether or not raised at trial.’” United States v. Shambaum, 10 F.3d 305, 310 (5th Cir.

 1994) (citation omitted). Thus, Oreck controls this case.17

 V.      Release Bars the Lanham Act Claims and the Related Antitrust Claims.

         The affirmative defense of release independently bars the Lanham Act claims and related

 antitrust allegations. This defense is distinct from res judicata because -- as the Fifth Circuit
 17
    Eyewear, Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335 (Fed. Cir. 2012), does not warrant a contrary
 result. There, the Federal Circuit applied its own law of res judicata for patent infringement, which is
 very different from the transactional rule followed in Oreck for false advertising claims. Id. at 1342-43.


                                                    43
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 53 of 61 PageID #: 26499



 emphasized in Oreck -- the scope of res judicata is governed by the “transactional test,” while

 the scope of a release is governed “by the parties’ actual intentions as reflected in the Settlement

 Agreement.” 560 F.3d at 402. Thus, the release is an independent basis for judgment as a matter

 of law. Faris v. Williams WPC-1, Inc., 332 F.3d 316, 322 (5th Cir. 2003).

        Several elements are undisputed: (1) RTI and BD signed a Settlement Agreement and

 Release in 2004 (the “Release”), DX6002; (2) RTI received adequate consideration; and (3) the

 Release is legally binding. RTI has denied only that the Release encompasses its claims in the

 current suit, but RTI is mistaken. The Release broadly releases BD from:

        any and all causes of action, demands, damages, costs, debts, liabilities, losses or
        claims of any kind, whether known or unknown, that the RTI Releasors may now
        have or ever had, or hereafter, shall, or may have against BD, for, upon, or by
        reason of any matter, cause, or thing, whatsoever, which accrued on or at any time
        prior to the date of execution of this Settlement Agreement and Release.

 DX6002, § 2.

        Because BD was making the alleged false or disparaging statements prior to the date of

 the Release, those causes of action had accrued prior to the date of the Release. In the Release,

 therefore, RTI unambiguously released all claims it “hereafter . . . may have against BD” based

 on those causes of action -- including the present Lanham Act claims and related antitrust claims.

 E.g., Ingram Corp. v. J. Ray McDermott & Co., 698 F.2d 1295, 1310, 1316 n.27 (5th Cir. 1983);

 White v. Grinfas, 809 F.2d 1157, 1160 (5th Cir. 1987); Augustine Med., Inc. v. Progressive

 Dynamics Inc., 194 F.3d 1367, 1371 (Fed. Cir. 1999).

        If RTI intended to “carve out” future false advertising claims from the Release based on

 conduct that was ongoing at the time of the release, it had to do so in clear and express language.

 See United States v. William Cramp & Sons Ship & Engine Bldg. Co., 206 U.S. 118, 128 (1907)

 (“If parties intend to leave some things open and unsettled their intent so to do should be made

 manifest.”); Augustine Med., 194 F.3d at 1373 (“Consistent also with judicial interpretations of


                                                 44
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 54 of 61 PageID #: 26500



 general releases, it is the burden of the parties entering into a settlement agreement to expressly

 reserve in the agreement any rights that they wish to maintain. . .”). RTI knew how to do so,

 expressly carving out patent infringement claims. DX6002, § 2. Alternatively, RTI could have

 insisted on an injunction as a condition for any settlement, but it voluntarily decided not to do so.

 Thus, its claims in this case have been released, as a matter of law.

 VI.         There Is No Evidence to Support the Lanham Act Claims.

             From the statutory text set forth in 15 U.S.C. § 1125(a)(1)(B), the Fifth Circuit has

 distilled the following essential elements of a Lanham Act false advertising claim:

       (1)       A false or misleading statement of fact about a product;

       (2)       Such statement either deceived or had the capacity to deceive a substantial segment of
                 potential customers;

       (3)       The deception was material, in that it is likely to influence the customer’s purchasing
                 decision;

       (4)       The plaintiff has been or is likely to be injured as a result of the statement at issue.

 IQ Products Co. v. Pennzoil Products Co., 305 F.3d 368, 375 (5th Cir. 2002). “The failure to

 prove the existence of any element is fatal to the plaintiff’s claim.” Pizza Hut, Inc. v. Papa

 John’s Int’l, Inc., 227 F.3d 489, 495 (5th Cir. 2000).

             In this case, RTI lacks substantial evidence to support any element of its claim for any of

 the challenged advertisements, and BD is entitled to judgment as a matter of law.

             If a statement is found to be “literally false,” the plaintiff is relieved in the first instance

 of the obligation to present prima facie evidence of deception and materiality. See Pizza Hut,

 227 F.3d at 497. But if the defendant comes forward with evidence suggesting that the statement




                                                       45
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 55 of 61 PageID #: 26501



 was not deceptive or was immaterial, then the ultimate burden of proof remains on the plaintiff.

 See Fed. R. Evid. 301 & historical notes (discussing effect of presumptions).18

         As a matter of law, a statement cannot be “literally false” unless it is “unambiguous.”

 See, e.g., Pernod Ricard USA, LLC v. Bacardi U.S.A., Inc., 653 F.3d 241, 248 (3d Cir. 2011);

 Buetow v. A.L.S. Enterprises, 650 F.3d 1178, 1185 (8th Cir. 2011). If a statement is ambiguous,

 “plaintiff must demonstrate actual deception through direct evidence of consumer reaction to the

 advertising or evidence of consumer surveys or consumer reaction tests.” IQ, 305 F.3d at 375;

 see also Pizza Hut, 227 F.3d at 497 (same). In this case, all the statements challenged by RTI are

 either literally true or, at worst, ambiguous. Thus, the deception and materiality presumptions do

 not apply here as a matter of law. In any event, the evidence conclusively establishes that the

 challenged advertisements were neither deceptive nor material, as a matter of law.

         A.      There Is No Evidence to Support RTI’s Needle Sharpness Claims.

         BD’s marketing slogan about the “World’s Sharpest Needle” is the sort of “bald assertion

 of superiority” or “statement[ ] of opinion” that “cannot form the basis of Lanham Act liability.”

 Pizza Hut, 227 F.3d at 496-97. At worst, it is non-actionable puffery. Id.

         RTI has tried to avoid this conclusion by arguing that the needle sharpness claims were

 statements of fact because they might admit of empirical proof. The evidence proves that the

 statements were true, as a matter of law, and BD had data to prove its claims were legitimate.


 18
     BD acknowledges cases calling for an “assumption” about deception or tendency to deceive when
 statements are “literally false.” Pizza Hut, 227 F.3d at 497. But such a presumption cannot support
 equitable relief under the Lanham Act after EBay v. Mercexchange LLC, 547 U.S. 388 (2006). In eBay,
 the presumption of irreparable harm for permanent injunctive relief was replaced by the admonition that
 “[n]o such thumb on the scales is warranted.” Monsanto Co. v. Geertsen, 130 S. Ct. 2743, 2757 (2010);
 see also Winter v. NRDC, 129 S. Ct. 365, 381 (2008) (injunctive relief “does not follow from success on
 the merits as a matter of course”). The Lanham Act presumption arose in cases involving preliminary
 injunctions; the presumption is no basis for equitable relief after final judgment. Therefore, BD
 respectfully preserves the position that the Lanham Act presumptions of deception and materiality applied
 by the federal circuits are no longer good law after eBay.


                                                    46
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 56 of 61 PageID #: 26502



 According to the only mechanical engineering tests in evidence, the needle sharpness statements

 were not false. See 9/17:81-111 (PM). RTI offered no substantial evidence to the contrary.

        More important, RTI’s argument misses the larger point: When construing an allegedly

 false or misleading statement under the Lanham Act, “the statement must be viewed in the light

 of the overall context in which it appears.” Pizza Hut, 227 F.3d at 495 n.5. Viewed in context,

 every statement about needle sharpness was part of a marketing campaign referring to the

 “World’s Sharpest Needle.” BD’s “World’s Sharpest Needle” claim conveyed the true fact that,

 on average, BD’s needles are the sharpest. 9/16:192 (PM). The statements were all truthful.

        Dr. Hyman disagreed with this reading of “sharpest.” See, e.g., 9/9:136 (PM). But his

 testimony proved only that the needle sharpness advertising claims were, at worst, ambiguous;

 two needles with identical sharpness can equally claim to be the “sharpest.” Thus, these claims

 were not unambiguous and literally false. Because there are two plausible interpretations of the

 needle sharpness claims, it would be error “to base [a] determination of falsity on the most

 absolute of competing dictionary definitions.” Buetow, 650 F.3d at 1186. As such, RTI retained

 its prima facie burden to demonstrate both deception and materiality.

        On this record, even if the jury determined that the ambiguous references to the “World’s

 Sharpest Needle” were false and misleading, there is no substantial evidence that any of the

 needle sharpness statements deceived customers or is likely to deceive future consumers. None

 of Professor Scott’s surveys tested deception from BD’s needle sharpness statements. 9/12:124

 (AM); 9/12:3, 6-7, 9, 13-14, 18, 31-32 (PM). No customer testified he or she was deceived. As

 a matter of law, there is no evidence of deception and BD conclusively proved the contrary.

        Likewise, the trial record contains no evidence that any needle sharpness statement was

 likely to influence a customer’s purchasing decision. Professor Scott admitted that her surveys

 did not ask about purchasing decisions. 9/12:30 (PM). And the direct evidence from consumers

                                                47
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 57 of 61 PageID #: 26503



 proved that their purchasing decisions are not influenced by advertising; they make informed

 choices based on their professional evaluations. 9/16:88-89 (PM); 9/17:16-17, 31-33 (AM);

 9/17:57-58, 146-47, 173-77, 191, 194-96 (PM); 9/18:25-28 (AM). As a matter of law, therefore,

 there is no evidence of materiality and BD has conclusively proved the contrary.

        Finally, there is no evidence that RTI was injured or is likely to be injured by BD’s

 needle sharpness statements, and BD proved the contrary. 9/12:31-32 (PM); 9/18:93 (AM).

        B.      There Is No Evidence to Support RTI’s Waste Space Claims.

        RTI focused on the .185 figure for “Brand A” waste space in certain BD advertisements.

 But even if that statistic became outdated over time, the statements about waste space were true

 “when viewed in the light of the overall context” of the ads. Pizza Hut, 227 F.3d at 495 n.5.

        The overall message of the waste space advertisements was that the BD Integra syringe

 had less waste space than “Brand A.” That message was truthful, because it is undisputed that

 even with more recent waste space calculations for the RTI syringe, the waste space in BD’s

 product was significantly less than the waste space in RTI’s product. 9/10:79 (AM). Dr. Scott

 admitted that the Integra syringe has one of the lowest waste space volumes -- lower than even

 the “corrected” VanishPoint waste space she used in her survey questions. 9/12:45-46 (PM).

 Viewed in context, therefore, the waste space advertisements were neither false nor misleading.

        At worst, the waste space advertisements were ambiguous -- an ambiguity compounded

 by the reference to “Brand A” rather than RTI, which forecloses a judgment of “literal” falsity.

 See Buetow, 650 F.3d at 1186. As such, even if those advertisements were false and misleading,

 RTI retained its prima facie burden to demonstrate both deception and materiality.

        There is no substantial evidence that any waste space statement deceived customers or is

 likely to deceive future consumers. To the contrary, the only evidence introduced at trial from

 actual customers conclusively disproves both deception and materiality. See supra at 12-13.


                                                48
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 58 of 61 PageID #: 26504



        Professor Scott’s survey did not prove deception from any statements about waste space.

 See 9/12:124 (AM); 9/12:3, 6-7, 9, 13-14, 18 (PM). It did not ask about, and thus did not test,

 customers’ purchasing decisions. 9/12:29-32 (PM). And it distorted the results by focusing

 respondents on the waste space comparison in a manner that was not comparable to the

 experience of a real customer, in real life. See 9/12:37-40 (PM). As a matter of law, there is no

 evidence of deception and BD conclusively proved the contrary.

        Likewise, the trial record contains no evidence that any of the waste space statements was

 likely to influence a customer’s purchasing decision. Dr. Scott did conduct a survey in an effort

 to show that consumers were influenced by the waste space comparison between BD’s Integra

 and RTI’s VanishPoint, but that survey failed to prove that consumers were influenced. Dr.

 Scott showed half of the respondents BD’s actual Integra brochure, and she showed the other

 half the identical brochure with a “corrected” waste space amount for the VanishPoint. When

 she compared the results of these two groups at trial, she offered no statistical test to prove that

 any difference was statistically significant. 9/12:37-42 (PM). And she conceded that a statistical

 significance test showed any purported difference in the results between the two groups was not

 significant. 9/12:40-47 (PM). As such, there is no substantial evidence that the waste space

 claims were likely to influence any customer’s purchasing decision. See Weisgram, 528 U.S. at

 454-57; Brooke Group, 509 U.S. at 242-43. Indeed, the evidence at trial conclusively proved

 that BD ultimately minimized its advertising based on waste space because these claims had no

 material impact on sales. 9/16:176-79 (PM). As a matter of law, there is no evidence of

 materiality and BD conclusively proved the contrary.

        Finally, there is no substantial evidence that RTI was injured or is likely to be injured as a

 result of any BD waste space statement. RTI suggested a possible correlation between a waste

 space promotion and the decisions of a few retailers, but offered no evidence from these retailers

                                                 49
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 59 of 61 PageID #: 26505



 and no evidence that any retailer decided not to buy RTI’s product because of BD’s advertising.

 Rather, the evidence proved these retailers purchased RTI syringes despite the waste space ads.

 9/16:119, 163 (AM); 9/18:77-78 (AM); Michael Exs. K-N; DX1661. There is no substantial

 evidence to connect buying decisions to any false or misleading waste space claim, and BD

 conclusively disproved any allegation of injury.

        C.      There Is No Evidence to Support RTI’s “Data on File” Claims.

        The jury found BD’s statements that it had “data on file” to support its advertising claims

 were false, but those findings fail as a matter of law. First, these “data on file” claims related to

 needle sharpness and waste space, and they fail for the same reasons set forth above. Second, the

 only distinct feature of these claims involves the claim that BD had no “data on file” to support

 its advertising. But the trial record conclusively proves BD did have “data on file.” 9/16:162-

 64, 187-94 (PM). Third, for the reasons set forth above, there is no evidence that the “data on

 file” advertising was material, deceived customers, caused any past injury to RTI, or is likely to

 cause any future injury to RTI. Thus, RTI’s “data on file” claims fail as a matter of law.

        D.      Alternatively, BD Is Entitled to a New Trial.

        If the Court determines that the Lanham Act claims are supported by sufficient evidence,

 it should nonetheless grant a new trial as to those claims because the jury’s findings are contrary

 to the great weight of the evidence. Fed. R. Civ. P. 59; Wellogix, 716 F.3d at 881. This is

 especially true for the essential elements of deception and materiality, where RTI offered no

 evidence from any purchaser or salesperson and all the evidence introduced at trial demonstrated

 that the challenged advertising had no impact on customers or sales. See supra at 10-16.

                            CONCLUSION AND PRAYER FOR RELIEF
        The Court should grant BD judgment as a matter of law. See FED. R. CIV. P. 50(b)(3).

 Alternatively, the Court should order a new trial or suggest a remittitur. See FED. R. CIV. P. 59.


                                                  50
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 60 of 61 PageID #: 26506



                                        Respectfully submitted,

                                        /s/ Robert A. Atkins
                                        Robert A. Atkins, Lead Attorney
                                        Jacqueline P. Rubin
                                        William B. Michael (admitted pro hac vice)
                                        PAUL, WEISS, RIFKIND, WHARTON
                                          & GARRISON LLP
                                        1285 Avenue of the Americas
                                        New York, New York 10019-6064
                                        Telephone: (212) 373-3000
                                        Facsimile: (212) 757-3990
                                        E-mail: ratkins@paulweiss.com

                                        MCKOOL SMITH, P.C.
                                        Samuel F. Baxter
                                        Texas Bar No. 0193800
                                        Robert Elkin
                                        Texas Bar No. 06522600
                                        104 East Houston, Suite 300
                                        Marshall, Texas 75670
                                        Telephone: (903) 923-9000
                                        Facsimile: (903) 923-9099
                                        E-mail: sbaxter@mckoolsmith.com

                                        BECK REDDEN, L.L.P.
                                        Alistair B. Dawson
                                        Texas Bar No. 05596100
                                        Russell S. Post
                                        Texas Bar No. 00797258
                                        1221 McKinney, Suite 4500
                                        Houston, Texas 77010-2010
                                        Telephone: (713) 951-6225
                                        Facsimile: (713) 951-3720
                                        E-mail: adawson@brsfirm.com


                                        Attorneys for Defendant
                                        Becton, Dickinson and Company




                                       51
Case 2:08-cv-00016-ALM Document 589 Filed 10/11/13 Page 61 of 61 PageID #: 26507



                                  CERTIFICATE OF SERVICE
        The undersigned hereby certifies on October 11, 2013, that all counsel of record who are
 deemed to have consented to electronic service are being served with a copy of this document via
 the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                 /s/ Robert A. Atkins
                                                 Robert A. Atkins




                                               52
